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Joseph H. Baldiga,

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Assist with Investigation strategy, including
preparation for interview with Mr. Torbert and
information regarding W. Green (.4); review
background materials regarding W. Green
interviews (.1); strategize regarding
Investigation, P. Bley’s findings regarding
shortfall, and next steps and additional
information needed to finalize report (.5).
Review open issues, next steps regarding
investigation, assess shortfall claims, and
strategies regarding pursuit of same, and
implications for avoidance actions.

Online research regarding background of Wayne
Greene in preparation of telephonic interview.
Communications with Attorney Nickless regarding
H. Torbert interview and Direct Air documents.
Develop and draft report section on DOT
regulations.

Communications with W. Greene regarding Direct
Air document in his possession and interview.
Communications with Attorney Boyd regarding
follow up interview of K. Ellison and J. Tull.
Review status of preference and fraudulent
transfer demands and claims.

Conference with Trustee regarding preference
and fraudulent transfer demands/claims for
insiders.

Communications with Attorney Aieta regarding
facts related to VNB’s release of non-cash
funds.

Further analysis regarding potential claims and
recovery strategies (.3), related call with
Attorney Gurfein (.2).

Work on verifying information in W. Greene
Affidavit; review P. Bley’s Affidavit and
detail of added/canceled flights; identify and
review documents in support of the explanation
for the shortfall. ,

Review and assess Wayne Green’s draft
Affidavit.

Continued attention to open investigation,
report issues and strategies.

Review electronically produced documents by

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Valley National Bank, Reese Boyd, Esq., Kay
Ellison and Robert Keilman and review portions
of 2004 exam transcripts in preparation of
telephonic interview with Hank Torbert.
Preparation for W. Greene interview.
Telephone call with F. Italia regarding
shortfall investigation and DOT interviews.
Communications with P. Bley regarding shortfall
theories and complimentary vouchers.
Preparation of documents and topics for
Attorney Nickless for H. Torbert interview.
Telephone interview with W. Greene regarding
financial operations of Direct Air.

Develop questions for Wayne Green interview
based on outstanding preference matters and
Affidavit, and prepare memorandum outlining
same (.6); follow up regarding Wayne Green
interview findings (.1).

Continue to analyze documents produced
electronically by K. Ellison, B. Kleiman and
Attorney Boyd in preparation of telephonic
interview with Hank Torbert.

Preparation for H. Torbert interview.
Strategize regarding next steps on insider
claims.

Telephone interview with H. Torbert; review
documents from H. Torbert regarding Direct
Air's escrow shortfall; review and initial
analysis of H. Torbert’s interview.

Review summary of W. Green interview (.1);
assist with analysis of H. Torbert interview,
including new information about "triggering
event" of acquisition and impact of claims
(.3); follow up with Trustee regarding
Investigation status and next steps (.1).
Further analysis, document review regarding
potential claims, next steps.

Review article on limitations of pari delicto
defendants.

Continue work on investigative report and
citations for all facts; review of VNB 2004
exam transcript.

Telephone call with Attorney Aieta regarding
non-cash withdrawals from VNB and other indicia

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of fraud.

Review correspondence and verification data
from P. Bley regarding shortfall sources.
Review memorandum regarding status of
Investigation.

Assist with Donald Stukes contact information
for interview.

Preparation for follow-up questions with B.
Keilman; conduct follow-up phone interview with
B. Keilman.

Communications with D. Stukes regarding
shortfall investigation.

Communications with F. Italia regarding
shortfall investigation.

Prepare for interview of B. Kornreich; conduct
phone interview of B. Kornreich.

Analyze information from interviews and its
place in the shortfall investigative report.
Communications with H. Torbet / Attorney
Nickless regarding discovery of hidden Direct
Air documents.

Review additional Direct Air documents from J.
Tull's computer regarding financial
projections.

Strategize regarding past interviews’ findings
and upcoming interview with Mr. Stukes.

Meet with litigation team to review
investigation progress, next steps, and
potential claims and defenses (.4), related
research and document review (.4).

Research First Circuit and Mass. cases on in
pari delicto defense; meeting with Trustee
regarding in par delicto defense impact on
Trustee claims on the shortfall.

Prepare for interview of D. Stukes.

Draft written follow-up questions for J. Tull
and K, Ellison regarding transactions
suggesting fraud.

Review revised P. Bley affidavit and exhibits;
phone call with P. Bley regarding final
shortfall and other figures, and P. Bley
affidavit.

Phone call with Attorney Boyd regarding
follow-up questions for J. Tull and K. Ellison

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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and their responses to appearances of fraud
discovered in the investigation.

Review summary of investigation status and
strategize regarding implications of in pari
delicto defense.

Call from Attorney Gurfein regarding claims v.
VNB (.2); review open investigation issues
(.2).

Preparation for and conduct phone interview of
D. Stukes.

Phone call from Attorney Boyd with initial
response to follow up questions via email for
J. Tull and K. Ellison.

Review K. Ellison and S. Ellison’s production
of documents and parts of their R. 2004
examination transcripts; identify documents and
statements to support investigation report.
Communications with P. Bley and C. O'Rourke
regarding additional financial analysis of
after-added passengers.

Strategy planning/discussion regarding claims
against bank and valid defense.

Analyze Direct Air Family Ties voucher payment
requests to Valley National Bank; chart dates
and amount of payments to be released to Direct
Air.

Analyze and continue to chart payment release
summary charts submitted to VNB by Direct Air.
Strategy regarding in pari delicto defense.
Phone call from Attorney Boyd regarding J. Tull
and K. Ellison’s response to follow up
questions; review and analyze Attorney Boyd's
correspondence regarding the same.

Continue to develop investigation report.
Prepare for and conduct phone interview of S.
Ullerup.

Communications. with P. Bley regarding Attorney
Boyd's correspondence regarding claimed
deficiencies in Trustee's data; review validity
of Trustee’s Radixx and financial data and
analysis.

Review Attorney Boyd’s letter regarding Radixx
accuracy and data.

Attention to cases regarding pari delicto

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

. defense.
12/19/13 jemurphy 0001 Review additional correspondence from Attorney 1.40 357.00
Boyd and analyze statements made regarding
Radixx inaccuracies; communications with
Attorney Guerfin regarding call with Radixx and
questions on Merrick’s Radixx data.

12/19/13 jemurphy 0001 Review R. 2004 exam transcripts for support for 2.80 714.00
investigation report.
12/19/13 jemurphy 0001 Phone call with F. Italia regarding DOT’s 0.50 127.50

interviews of Direct Air employees regarding
false reservations.
12/19/13 jemurphy 0001 Phone call with P. Bley regardgin verification 1.40 357.00
of Trustee’s Radixx data and revised shortfall
figures; review revised financial analysis
spreadsheets from P. Bley.

12/20/13 JOM 0001 Review documents; discuss results of 0.80 324.00
investigation on VNB Accounts.

12/20/13 RBG 0001 Strategy planning regarding issue of in pari 0.30 112.50
delicto. .

12/20/13 jemurphy 0001 Preparation for call with Radixx regarding 2.40 612.00

Attorney Boyd’s two letters; conduct conference

. call with Radixx and Merrick Bank regarding
Radixx data; follow up communications with
Attorney Gurfein regarding Radixx data and
response letter.

12/20/13 jemurphy 0001 Further strategy on application of in pari 0.50 127.50
delicto defense.
12/22/13 JHB 0001 Research and analysis regarding IPD issues 1.30 507.00

(1.1), related email to Attorneys Gurfein,
Brock, Reier and McGee (.2).
12/23/13 JHB 0001 Begin review of Merrick complaint, research 0.60 234.00
regarding standing, devise response strategies,
related emails with Attorney Reier.

12/23/13 RBG 0001 Strategy planning regarding claims against 0.20 75.00
Bank.
12/23/13 goneil 0001 © Review memoranda from Trustee to Merrick and 0.20 51.00

group regarding in pari delicto defense and
possibility of joint action v. Valley National
Bank (.1); confer with Trustee regarding same
(.1).
12/23/13 goneil 0001 Research standing to bring estate causes of - 1.50 382.50
action; research methods to stop Valley
National Bank from doing same.
12/24/13 JHB 0001 Continue review of Merrick complaint, research 1.70 663.00
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Joseph H. Baldiga, Chapter 7 Trustee
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standing and estate property issues, craft and
send email to attorneys Gurfein, Regan
regarding same and stay violation (1.4);
related emails to Attorneys Sternklar, Reier
and McGee (.3).

Review Merrick Bank v. VNB complaint; initial
strategy regarding response. ,

Confer regarding Merrick’s filing of Complaint
v. Valley National Bank and potential claims
related to same (.3); review Trustee's
memorandum to Merrick’s counsel regarding same
(.1).

Continued research and analysis regarding
Merrick complaint response, estate standing,
IPD research (1.1), related emails with
Attorneys Brock, Gurfein, McGee, Reier (.2).
Strategy planning regarding Merrick’s claims
against VNB and Trustee’s demand to dismiss.
Attention to review of in pari delicto defense;
research same.

Continued research and analysis regarding
standing, claim viability and possible defenses
in preparation for 12/31 Merrick call and
related conference with Attorney Murphy (1.1);
related call with Attorney Sternklar (.3).
Communications with Attorney Guerfin regarding
Radixx response to Attorney Boyd’s claims.
Strategy regarding QuickFire discovery timing.
Strategy with Trustee regarding Merrick Bank
complaint and claims against VNB.

Further research and analysis in preparation
for conference call with Merrick and AMEX
counsel and review underlying complaint,
investigation materials (1.8); participate in
lengthy conference call with Attorneys Gurfein,
Brock, McGee and Regan (1.1); follow up
analysis and strategies (.2) and related call,
emails with Attorney McGee (.2).

Strategy planning / discussion regarding claims
by Merrick against VNB.

Research in pari delicto defense in Third
Circuit cases.

Conference with Trustee, Merrick Bank’s counsel
and Amex counsel regarding Merrick Bank’s

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15008 Joseph H. Baldiga, Chapter 7 Trustee
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complaint v. VNB and jointly pursuing claims
against VNB.

Further development of investigation report
regarding VNB’s obligations.

Review summary of litigation call with Merrick
Bank.

Strategy planning regarding defenses to trustee
/ bank's claims.

Review open investigation, recovery issues,
related emails with Attorney Gurfein.

Emails with Attorneys Gurfein, Brock, McGee
regarding 1/7 conference call (.2), review
related issues and materials (.2).

Review summary of Investigation and report
status and timing.

Further research, analysis regarding IPD issues
and strategies (1.1); conference call with
Attorneys Gurfein, Brock regarding VNB
litigation (.4); follow up emails with same and
Attorney McGee (.3) and related call with
Attorneys Sternklar (.4).

Strategy planning discussion regarding state
court litigation and motion to intervene;
strategy regarding filing declaratory action in
bankruptcy proceeding.

Strategy regarding response to Merrick Bank’s
suit and initial analysis of claims by the
Trustee.against Merrick Bank.

Strategize regarding action for declaratory
judgment.

Assist on strategy for preference action
default judgment hearing.

Further analysis, strategies regarding suit v.
VNB and Merrick action, complaint v. Merrick
(.4), related emails with Attorneys Handel,
Brock and Gurfein (.3).

Review Trustee and A. Handel’s analysis of
hearing and Merrick's limited opposition to
distribution.

Devise complaint strategies regarding Merrick
and related research (.3); call with Attorney
Reier regarding same (.4).

Strategy planning regarding claims against
Merrick for pursuing trustee claims.

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Communications with F. Italia regarding witness
interviews.

Review R. Peri response to Attorney Boyd
correspondence.

Review memoranda regarding action v. Merrick.
Emails with Attorneys Brock, Gurfein, Handel,
McGee, Reler regarding claims v. VNB, estate
property and standing (.3); related research
and analysis (.3).

Continue work on investigative report
regarding sources of the shortfall.

Review summary of Investigation Report.
Strategy planning regarding Merrick’s
bankruptcy filing as to rights to claims.
Review deposition transcripts for founder’s
statements regarding operations of escrow
account.

Review emails between Trustee and Merrick’s
counsel regarding declaratory judgment.
Analysis and advice on Merrick Bank suit
against Valley National Bank.

Research, analysis regarding estate interest in
shortfall claims (1.1) and confer with Attorney
Murphy regarding answer and litigation issues
(.3); related emails with Attorneys Haworth,
Sternklar (.2).

Continue developing and drafting investigation
report.

Further research analysis regarding standing to
bring shortfall claims, strategies answer to
Merrick complaint.

Consider potential arguments v. Merrick based
on new First Circuit case. ,

Continue developing and drafting investigation
report; review Rule 2004 transcripts for VNB’s
process and practice for processing payment
requests for release from depository account.
Strategy regarding Trustee’s suit against
Valley National Bank.

Communications with P. Bley regarding Direct
Air's tax filings and minority shareholders.
Continue developing and drafting report with
focus on Radixx data and Verdolino & Lowey
analysis of the Radixx data.

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Joseph H. Baldiga, Chapter 7 Trustee
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Draft correspondence to R. Peri regarding
supplementing respond to Attorney Boyd’s
letter/K. Ellison’s allegations regarding
veracity of Radixx export to the Trustee.
Attention to status of litigation/strategy.
Phone call to R. Peri regarding response to
Attorney Boyd’s letter and veracity of Radixx
export for the Trustee.

Work on developing and outlining investigation
report section on sources of the shortfall.
Continue work on investigative report,
including review of facts from documents and
2004 examination transcripts regarding Family
Ties program and release of Family Ties funds.
Communications with Attorney Aieta regarding
Trustee / Merrick depositions.

Continue to work on developing and drafting
investigatory report.

Review status of Investigation Report and
assist with preparation of same (.2); review
and revise Investigation Report and offer
suggestions for augmenting and streamlining
same (1.0).

Strategy regarding certain background and
operations content of investigation report;
further develop and draft report.

Strategize regarding further development of
Investigation Report.

Assist with insiders analysis for Investigation
Report; assist with drafting Report.

Review Founding Members’ deposition for
admissions of knowledge of conduct contributing
to creating the shortfall for use in

investigation report.

Assist with Investigation Report.

Edit and further draft investigation report.
Review additional guidance on DOT
regulations/requirements from L.
Swafford-Brooks (DOT).

' Assist with developing insider transfer issues

and other planning regarding Investigation
Report.

Continue developing investigation report with
focus on background and daily operations of

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

02/04/14 JHB 0001 Review open investigation, report issues. .30 117.

02/04/14 jemurphy 0001 Review Direct Air records for materials support .30 331.
for report section on Direct Air's background
and operations,

02/05/14 chorourk 0001 Review Merrick Complaint against Valley .70 513
National Bank; draft Trustee’s Complaint
against Valley National Bank under identical
claims.

02/05/14 jemurphy 0001 Continue review of Direct Air documents for .60 153
documents relevant to Direct Air’s background
and operations.

02/06/14 jemurphy 0001 Continue work developing and drafting .40 612
investigation report.

02/06/14 goneil 0001 Assist with Investigation Report. 10 25.

02/06/14 goneil 0001 Review and substantively edit draft .30 841.
Investigation Report.

02/07/14 JHB 0001 Begin review of report and underlying 40 156.
materials.

02/07/14 jemurphy 0001 Continue drafting and edits to investigation .80 1,479.
report.

02/07/14 jemurphy 0001 Communications with Attorney Haworth regarding .10 25.
Trustee and VNB’s production of documents.

02/09/14 JHB 0001 Continue review of investigation report, .80 312.

. underlying materials.

02/10/14 JHB oo01 Continue review of report and underlying case .60 234
materials and issues,

02/10/14 jemurphy 0001 Continue work on investigation report, .10 535.
including communications with P. Bley regarding
shortfall calculations, Radixx data and
explanation of shortfall sources.

02/10/14 goneil 0001 Confer with Trustee regarding Investigation .10 25.
Report.

02/11/14 jemurphy 0001 Continue developing and drafting investigation 80 969.
report, specifically Founding Members’
knowledge and timing of the events surrounding
the shortfall.

02/11/14 goneil 0001 Assist with finalizing Investigation Report. .20 51.

02/12/14 JHB 0001 Further research (new cases) regarding IPD .60 234
defense, exceptions.

02/12/14 jemurphy 0001 Ongoing development and drafting of .20 1,326.

Direct Air.

investigation report and edits to P. Bley
Affidavit; communications with P. Bley
regarding sources of the shortfall, explanation

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Joseph H. Baldiga,

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Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

for the same and Radixx data/reports showing
the shortfall sources for use in the report.
Address issues with Rule 2004 transcripts.
Review recent case law regarding fraud and in
pari delicto doctrine.

Assist with finalizing Investigation Report.
Draft Appendix/Table of Contents in support of
Trustee’s Report on Operations and Shortfall.
Ongoing work developing and drafting
investigation report, including review of Rule
2004 transcripts for citation/support for
factual assertions in the report.

Assist with preparation of Investigation Report
and corresponding P. Bley Affidavit. :
Compile exhibits in support of Trustee’s
Report.

Continue to develop and draft investigation
report, focusing on explanation of the sources
of the shortfall and P. Bley’s affidavit
providing forensic analysis of the evidence of
the shortfall sources; edits to the
investigation report.

Review and revise complete draft Investigation
Report.

Begin review of revised report, related
materials. ,

Review and revise affidavit and compiled
exhibits in support of trustee’s report.
Complete review of report and Bley affidavit
and compile comments, questions.

Consider additions to Investigation Report
based on report criteria (.1); emails regarding
Investigation Report and possible augmentation
of same to include an "Executive Summary" (.2).
Review and revise exhibits to trustee’s report.
Conference call with litigation team regarding
comments on report.

Communications with P. Bley regarding edits to
her affidavit; review proposed edits by V&L
staff; further edits to P. Bley affidavit.
Conference with the Trustee on the
investigation report; begin to make edits and
revise report,

Assist with finalizing Report.

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Joseph H. Baldiga,

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Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Strategize regarding claims issues, including
as related to Valley National Bank and
insiders.

Edit text of investigation report and
locate/add citations from Rule 2004
Transcripts.

Review interviews and Rule 2004 Transcripts for
relevant dates and knowledge related to the
shortfall; update sources for the report and
work on appendix of exhibits; edits to
investigation report and P. Bley Affidavit.
Review and revise exhibits and compile same in
connection with Trustee’s Report.

Edits and further draft investigation report;
verification and citation to source material;
verify shortfall calculations and forensic
accounting reports showing sources of the
shortfall.

Revise modified investigation report and review
related attachments, supplements (.9); meeting
with Mr. Italia, Attorney Berlin regarding
investigation issues and follow up (1.5).
Review and revise table of contents in support
of Trustee’s Report; obtain and compile revised
exhibits. .
Meeting with A. Berlin and F. Italia re: facts
and conclusions regarding Direct Air’s
operations and shortfall.

Ongoing edits and further draft investigation
report; continue to locate additional source
materials; continue to compile appendix of
exhibits to report.

Continued review of report materials and
related notice issues.

Final revisions to exhibits and affidavit in
support of trustee’s report; prepare for filing
same.

Draft motion to limit notice regarding
trustee’s investigative report and
review/revise same (1.0); review and revise
service list (x2) (.7).

Edits to investigation report and source
material; ongoing review of Rule 2004
Transcripts for additional support for facts in

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Joseph H. Baldiga, Chapter 7 Trustee
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report.

Communications with P. Bley regarding final
shortfall figures and exhibits to P. Bley’s
affidavit.

Revise motion to limit notice and review
related service issues (.3), begin review of
revised report (.2).

Assist with compilation of exhibits for
investigative report.

Edits and continue drafting investigation
report.

Phone call with P. Bley regarding final edits
to her affidavit and final review of shortfall
figures.

Final review of investigative report, exhibits
and related filing, notice issues.

Continued compilation of exhibits in support of
Trustee's final report and supporting
pleadings.

Assist with organization of investigative
report and plan for e-filing and service.
Review source materials and citations to Rule
2004 Transcripts; final edits to investigation
report and appendix of exhibits; review and
edit Motion to Limit Notice of parties’
receiving report and appendix.

Attend to electronic filing of Trustee Report
and service of same.

Assist with efiling/service of trustee’s
investigative report.

Attend to filing and service of the
investigation report with exhibits and
Affidavit of P. Bley.

Review final edits to Investigation Report
(.2); review as~filed Report (.1).

Forward hard copies of filed pleadings to Judge
Hoffman upon request.

Track order allowing motion to limit notice
regarding trustee’s investigative report.
Communications with the DOT and Court regarding
the Trustee’s filed report with exhibits and
Affidavit of P. Bley.

Phone call and draft memorandum to P. Bley
regarding review of back up of transfers made

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Joseph H. Baldiga, Chapter 7 Trustee
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be Debtor for the founders’s complaints.
Consider preference action v. Valley National
Bank.

Confer with Trustee regarding potential
preference claims v. Valley National Bank.
Communications with A. Handel (DOJ) regarding
Trustee's Investigation Report and evidence
against the founding members.

Strategy planning / discussion regarding
litigations / claims / defenses and evidence.
Phone call from F. Italia regarding the
Trustee’s investigation report and supporting
materials.

Communications with F. Italia regarding DOJ’s
subpoena to Trustee for Direct Air documents.
Communications with Attorney Gurfein regarding
alternate bank account.

Review Trustee’s report on Direct Air’s
operations and shortfall.

Additional updates to litigation control sheet.
Review amended MB complaint. /

Review United States District Court- District
of NJ web-site and local rules to determine
requirements for notice via ECF; telephone call
to clerk’s office to confirm.

Review status, next steps, Gurfein email
regarding action v. VNB.

Review docket of Merrick v. VN; correspondence
to Attorney Aieta regarding status of
litigation.

Review status of case/update litigation control
sheet accordingly.

Review docket and case activity for Merrick
Bank v. Valley National Bank.

Review Valley National Bank’s Motion to Dismiss
Merrick Bank suit.

Review VNB dismissal motion, related materials.
Review memo addressing VNB dismissal arguments,
prospects for recovery.

Analysis of the claims subject to VNB’s Motion
to Dismiss and remaining claims.

Review summary of Merrick suit and Valley
National Bank’s Motion to Dismiss.

Review status of case and update control chart

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Joseph H. Baldiga,

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Chapter 7 Trustee

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accordingly.

Review revisions to updated control chart.
Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

Review status of Merrick v. Valley National
Bank adversary proceeding, and likely recovery
for the Estate.

Review status of litigation in preparation for
Bankruptcy Court hearing.

Retrieve current pacer docket for Merrick Bank
vs. Valley National.

Review complaint amendment motion, next steps
in recovery litigation.

Review and compare Merrick’s Second Amended
Complaint against Valley National Bank.
Retrieve current pacer docket regarding Merrick
Bank v. Valley National Bank.

Review updated docket, results of dismissal
hearing and issues, timing regarding amended
complaint.

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Review IRS form 2848 (POA) ; review scope of
access and restrictions to debtor’s tax
information.

Attention to status of adversary proceedings.
Identify work done on investigation and into
shortfall for fee application.

Phone call with Attorney Aieta regarding
investigation and analysis into sources of the
shortfall and anticipated discovery requests by
Valley National Bank in Merrick v. Valley
National Bank; initial communications with P.
Bley regarding the same.

Review pacer docket regarding Merrick vs.
Valley and retrieve and save dockets 26-37 for
review.

Access current pacer docket regarding Merrick
vs. Valley.

Devise strategies to respond to VNB subpoena.
Continued attention to VNB document production
issues, next steps.

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MIRICK, O’ CONNELL Page 92

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

TYPE 0001 TOTAL 1,212.70 *eeKR ERK
TASK: 0002 Adversary Proceeding

Attorney Summary Hours Value Rate

152 PWC Paul W. Carey 3.60 1,296.00 360.00

139 JHB Joseph H. Baldiga 4.60 1,748.00 380.00

290 goneil Gina B. O’Neil 2.50 609.00 243.60

281 jemurphy Jessica BE. Mur 1.20 294.00 245.00

304 mrfisher Matthew R. Fis 6.60 1,389.00 210.45

TYPE 0002 TOTAL 18.50 5,336.00

Time Detail Hours Value
04/20/12 JHB 0002 Numerous emails with Attorney Haber regarding 1.10 418.00

possible Chemoil preferences and possible
defenses to same (1.1).

04/20/12 JHB 0002 Begin review of related materials and 0.20 76.00
strategies (.2).
04/20/12 goneil 0002 Review multiple emails between Trustee and 0.30 72.00

counsel for ChemOil regarding possible
preference, response, and detailed request for
materials, and analyze information contained
therein.
05/08/12 JHB 0002 Emails with Attorney Haber regarding Chemoil 0.50 190.00
document (.2); review transfer materials and
demand issues (.3)

05/11/12 JHB 0002 Emails with Attorney Haber regarding Chemoil 0.20 76.00
preference defenses, turnover.
05/15/12 JHB 0002 Emails with Attorney Haber regarding Chemoil 0.90 342.00

preference issues, 2004 exam motion (.3); begin
review of payment, invoice materials from same
(.6).

05/15/12 goneil 0002 Review messages between Trustee and ChemOil 0.10 24.00
regarding 2004 authority.

05/15/12 goneil 0002 Review emails and preliminarily, review payment 0.20 48.00
spreadsheets from Attorney Haber.

05/16/12 JHB 0002 Continue review of extensive Chemoil materials 0.60 228.00

and issues.
05/16/12 goneil 0002 Attend to and review briefly emails from 0.20 48.00
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MIRICK, O’ CONNELL

15008

Joseph H. Baldiga,

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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counsel attaching response to
documents/information request.

Initial review of documents; analyzed state law
defenses; analyzed preference defenses;
strategy regarding documents.

Consider World Airlines’s claim in context of
ChemOil’s preference response; review fuel lien
information in preference response in order to
develop same, and prepare memorandum to Trustee
outlining World Airlines’s relationship with
Debtor and ChemOil, including information
possibly relevant to preference investigation.
(Chemoil) Review letter from D. Haber regarding
preference defenses; review attachments;
strategize regarding issues.

Continue analysis of defenses, next steps in
response.

Discussion regarding defenses and questions for
counsel; review additional data provided.
Assist with providing background information
from initial investigation.

(Chemoil) Analyze response letter regarding
possible preference defenses; review First
Circuit law; review past correspondence; call
D. Haber for more information.

Call with Trustee and counsel regarding
investigations and approach.

Follow up regarding defenses.

Review additional materials from Attorney Haber
and next steps in investigation.

Discussion regarding defenses and timing;
review letter from counsel.

Call D. Haber’s office regarding spreadsheet of
invoices; attention to responses.

Review invoices received from D. Haber.

Call with D. Haber’s office regarding
spreadsheet. ,

Discussion regarding defenses.

Analyzed new value defense; discussion
regarding alternative calculations to theories;
draft memo to Trustee regarding liability.

Call with D. Haber regarding invoices and
payment information; review invoices and fuel
tickets; analyze invoicing and. prepare

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MIRICK, O'CONNELL

15008 Joseph H. Baldiga,

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Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

05/27/12 JHB 0002
05/28/12 goneil 0002
05/29/12 PWC ~—S—0002

08/15/12 mrfisher 0002
05/23/13 jemurphy 0002

12/24/13 goneil 0002

TYPE 0002

spreadsheet regarding new value analysis;
determine new value complete defense.

Assess preference issues including Chemoil, and
related email to Mr. Jalbert, Ms. Bley.

Review emails regarding ChemOil preference
analysis.

Discussion regarding defenses and trustee’s
response.

Review ChemOil preference analysis.

Review Chemoil’s role with respect to Direct
Air and facts regarding Chemoil’s Line of
Credit; review information on current Chemoil
employee D. Drummand.

Review new information regarding Chemoil
payments, confirm inclusion in prior preference
analysis, assess impact of guarantors’ suit on
Chemoil preference matters, and prepare
memorandum regarding same.

TOTAL

TASK: 0003 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De
TYPE 0003 TOTAL

Time Detail

05/08/12 JHB 0003

05/08/12 goneil 0003

05/09/12 JHB 0003

Hours Value Rate

46.30 17,941.50 387.51

37.80 9,638.00 254.97
7.90 1,478.50 187.15

92.00 29,058.00

Lengthy call with Attorneys Renner, Dees
regarding Arrow litigation, appeal, retention
(.8), review underlying materials and issues
(.4); follow up call from Attorney Dees (.3).
Telephone call with Attorneys Renner and Dees
regarding Arrow and AFI matters (.8); consider
additional sources of recovery with Trustee
(.2).

Review Arrow brief and appeal, litigation and
retention strategies (.8); related calls and

0.20 76.00
0.10 24.00
0.30 108.00
0.30 66.00
1.20 294.00
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18.50 5,336.00
Hours Value
1.50 570.00
1.00 240.00
1.40 532.00
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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emails with Attorneys Boyd (.2), Dees (.4).
Review terms of Florida Special Counsel
retention.

Work on special counsel motion (Arrow).

Emails with Attorney Dees regarding next steps
in Arrow litigation, recovery.

Review memoranda regarding strategy for
contacting Arrow’s counsel and possible
settlement.

Emails with Attorney Dees regarding Arrow
appeal, next steps.

Emails with Attorney Dees regarding Arrow
appeal, negotiations.

Review additional pleadings from Attorney Dees
and related recovery resolution strategies
(.3), and related emails with Attorney Dees
(.1).

(Arrow) Emails with Attorney Dees regarding
next steps, appeal issues.

Review electronic mail from R. Dees as to
current status of case and calendar ahead for
further update.

Emails with Attorneys Renner, Dees regarding
Arrow recovery issues and strategies (2 times).
Further emails with Attorneys Renner, Dees
regarding appeal, recovery issues.

Emails with Attorneys Renner, Dees regarding
status of litigation and next steps.
Preparation for (.3), participation in (.6)
lengthy call with credit card companies and DOT
regarding VNB agreement; follow up call with
Attorneys Brock, Reier regarding next steps
(.3); begin revisions to approval motion (.3).
Review revised addendum and emails with parties
regarding same.

Call, emails with Attorney Renner regarding
Arrow appeal, claims and related recovery
issues and strategies.

Further emails with Attorneys Renner, Dees
regarding Arrow litigation, appeal issues and
strategies, related claim issues and
implications and next steps (.7), review
related claim materials (.2).

Analysis, emails with group regarding next

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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steps in investigation, VNB agreement.

Review decision, implications, related emails
with special counsel.

Further emails with special counsel and
analysis of issues for 1/2 conference call.
Further review of issues and materials and
appeal implications (.6), related conference
call with special counsel (.4).

Prepare for call and telephone call with
Special Counsel regarding Arrow litigation to
strategize regarding next steps for various
recoveries in light of recent favorable appeal
Order (.7); follow up with Trustee regarding
preparation of fraudulent transfer Complaint
(.1); follow up regarding litigation background
in preparation to proceed with Complaint (.1).
Review reconsideration request, response
regarding appeal order and related emails with
special counsel regarding next steps (.3);
review grounds and case materials for avoidance
complaint (.3).

Review memoranda between Trustee and Special
Counsel regarding Motion for Rehearing; review
Motion.

Review Response to Arrow’s Motion for
Rehearing; review associated emails from
Trustee and special counsel.

Emails with Attorney Dees regarding appeal
denial, next steps.

Review memorandum regarding case status and
bond garnishing documents from Special Counsel.
Emails with Attorney Dees regarding mandate,
appeal.

Review drafts of restitution motion, proposed
order and provide comments to Attorney Dees,
and review related case materials, research
from same.

Several rounds of revisions regarding
restitution judgment request, proposed order
(.3), related emails with Attorney Dees (.1).
Review Restitution Motion package documents and
emails regarding same.

Review mandate, restitution materials and
exchange related emails with Attorneys Rees and

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Review additional restitution, mandate and
recovery pleadings form Attorney Dees, and
email from same regarding next steps.

Review Mandate and Judgment for Resolution
documents in context of timing to file
Fraudulent Transfer Complaint, and email
Special Counsel to confirm timing and
procedures for same.

Review memorandum from Attorney Dees regarding
methods of collecting 104k (.1); memorandum to
file regarding same (.1).

Further emails with Attorney Dees regarding
judgement, restitution issues and next steps.
Multiple emails with Attorney Dees regarding
bankruptcy stay impact, implications for
recovery action vs. Arrow.

Review multiple memoranda among special counsel
and counsel to AFI regarding authority to move
forward.

Continued emails with Attorney Dees regarding
restitution, judgment issues and strategies.
Review opposition and related affidavits, case
materials (.6), and related emails with
Attorneys Dees and regarding 3/19 hearing (.3).
Review additional pleadings, strategies
regarding 3/19 hearing on garnishment issues
(.4); related emails with Attorney Dees. (.2).
Emails with Attorney Dees regarding hearing
issues and next steps in recovery litigation.
Review memoranda between Trustee and Special
Counsel regarding status of and strategy for
Arrow litigation.

Multiple emails with Attorney Dees regarding
disbursed funds, strategies to remedy.

Review memoranda from special counsel regarding
matter status and garnishment judgment.
Multiple emails with Attorneys Dees, Renner
regarding garnishment, stay issues and
strategies (.6); related document review and
analysis (.3).

Review emails with Special Counsel regarding
status of erroneously-sent funds.

Review additional pleadings, strategies

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee

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regarding Arrow recovery litigation (.4),
related call, emails with Attorneys Renner,
Dees (.3).

Review memoranda regarding status of matter.
Review additional pleadings, recovery
strategies regarding bond, garnishment.
Multiple emails with Attorney Dees (.3) and
review related garnishment, bond pleadings and
release (.3) regarding fund recovery.

Multiple calls and emails with insurance
company (Mr. Montecalvo) regarding bond
release, payment issues (.8); review additional
pleadings from Attorney Dees (.3); and emails
with same regarding garnishment bond issues
(.3).

Review memoranda from Special Counsel regarding
surety funds and status of matters.

Receive bond payment and emails with Attorneys
Dees, Renner regarding same and restitution
issues, 4/23 hearing (.3); review additional
pleadings regarding same (.3).

Review memorandum regarding receipt of bond
funds.

Review memorandum from Attorney Dees regarding
Status of litigation.

Consider automatic stay issues based on request
from Attorney Dees.

Emails with Attorney Dees regarding
garnishment, stay issues and strategies.
Emails with Attorney Dees regarding
garnishment, stay issues.

Email to Attorney Dees regarding stay, recovery
issues.

Review memorandum from Attorney Dees regarding
case status (.1).

Review additional materials from Attorney Dees
regarding garnishment return, appeal (.3) and
emails with same regarding next steps (.1).
Review memorandum from Special Counsel
regarding status of litigation.

Emails with Attorney Dees regarding stay
violation/garnishment action (.2), related
research and analysis (.3).

Review email and case law from Attorney Dees

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Joseph H. Baldiga,

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Chapter 7 Trustee

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regarding automatic stay in garnishment context
and email Trustee regarding same.

Multiple emails with Attorneys Dees, Denetz
regarding garnishment issues, possible stay
violation (.3); related research and analyse
(.3).

Review multiple emails between Attorneys Dees
and Dunetz regarding automatic stay and
hearings on pending matters.

Further review of recovery materials from
Attorney Dees.

Further research and analysis regarding stay
violation, garnishment appeal, and related
emails with Attorney Dees.

Review multiple emails between counsel and
opposing counsel and assess analysis,
strategies and recovery prospects (.3), and
related emails with Attorney Dees (.1).

Review message from Attorney Dees regarding
status of matters and upcoming hearings.

Emails with Attorneys Dees, Renner regarding
garnishment litigation, stay implications and
strategies for next steps (.3); review and
comment on response to suggestion of bankruptcy
(.2).

Review litigation status and next steps and
emails to special counsel.

Review stay order, implications, and related
emails with Attorney Dees. |.

Review denial by court regarding garnishment
and emails with Attorney Dees regarding appeal,
stay request.

Review case update from Attorney Dees.

Further emails with Attorney Dees regarding
appeal, stay issues and response to latest
Arrow motion.

Review update from Attorney Dees; review Motion
for Rehearing regarding Stay Clarification.
Further emails with Attorney Dees, Dunetz
regarding next steps in garnishment action.
Review restitution response, related emails
with Attorney Dees.

Emails with Attorney Dees regarding garnishment
appeal, strategies for recovery.

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Joseph H. Baldiga,

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Chapter 7 Trustee

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Review additional pleadings, order denying stay
request and related emails with Attorney Dees
regarding implications, next steps.

Review emails regarding Order.

Review open special counsel issues, next
recovery steps.

Review and consider summary of case status,
including potential for needing to make
available named witnesses.

Review orders, motions from Attorney Dees and
implications for garnishment recovery (.3);
emails with Attorney Dees, Renner regarding
strategies and bond issues (.2).

Review latest pleadings, and emails with
Attorney Dees regarding response strategies.
Review response (delay motion) and emails with
Attorney Dees regarding next steps.

Continued emails with Attorney Dees regarding
recovery issues.

Call and emails with Attorney Dees regarding
next recovery steps, and review latest
pleadings from Arrow (.4); review amended fee
agreement and related approval strategies (.2);
review issues regarding Baldwin deposition
(.1).

Review emails regarding potential deposition of
Mary Baldwin.

Multiple emails with Attorney Dees regarding
latest Arrow pleadings, court rulings and
implications.

Review additional Arrow pleadings, next steps
in recovery (.2).

Review emails regarding case status and updated
engagement terms.

Review appellate decision and discuss
implications, strategies with Attorney Dees
regarding mandate, garnishment.

Emails with Attorney Dees regarding retention
order, implications.

Review Order approving modified special counsel
engagement and follow-up email from Attorney
Dees regarding motion for rehearing.

Review correspondence from Attorney Dees to
trustee regarding next steps.

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Joseph H. Baldiga,

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Review additional pleadings regarding mandate
reconsideration, garnishment reversal (.3)j;
related emails with Attorney Dees (.1).
Review and comment on draft stay notice and
related emails with Attorney Dees.

Review new pleadings, possible settlement
parameters, and related emails with Attorney
Dees.

Review messages from special counsel about
rescheduling hearing and next steps.

Emails with Attorney Dees regarding ongoing
litigation, extension request.

Continued emails with Attorney Dees, review of
new pleadings regarding garnishment action.
Further emails with Attorneys Dees, Renner
regarding garnishment, recovery issues and
strategies.

Emails with Attorney Dees regarding open
recovery issues, strategies.

Final review/finalize pleadings regarding
special counsel fee application (R. Dees) for
efiling and service; calendar ahead for receipt
of hearing notice or order; update control
sheet; track order allowing motion to limit
notice.

Review new pleadings from Attorney Dunetz,
devise response strategies, and related emails
with Attorney Dees.

Review memorandum from Special Counsel
regarding hearing on Motion to Strike and
automatic stay.

Review additional materials from Attorney Dees
and analysis regarding stay implications and
strategies regarding garnishment action (.3),
draft and revise related email to Attorney Dees
(.3).

Review Trustee’s draft response to Special
Counsel regarding garnishment action and
automatic stay and consider issues regarding
same (.4); confer with Trustee regarding
response (.1); assess related outstanding
matters (.1).

Review additional litigation, appeal materials
from Attorney Dees and devise related

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Joseph H. Baldiga, Chapter 7 Trustee
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strategies (.6); multiple emails with Attorneys
Dees regarding same, possible adversary
proceeding, settlement parameters (.6).
Forward copy of complaint filed by Merrick Bank
to R. Dees via electronic mail.

Review memorandum from Trustee to Special
Counsel regarding possible settlement (.1);
review response and proposed Order staying
litigation (.1).

Emails with Attorneys Dees, Renner regarding
settlement issues and parameters.

Review emails with Special Counsel regarding
potential settlement of Sun Trust funds matter.
Further discussions with Attorney Dees.
Review email from Atty. Dees regarding
settlement negotiations.

Review email from Special Counsel and draft
Complaint regarding automatic stay.

Review emails with Special Counsel regarding
settlement negotiations.

Review proposed complaint v. Arrow, grounds for
adding fraudulent transfer counts; related
emails with Attorneys Dees, Renner.

Review email from Trustee regarding avoidance
action.

Emails with Trustee to develop fraudulent
transfer Complaint v. Arrow (.2); compile
materials necessary for drafting and revising
Complaint v. Arrow for recovery of fraudulent
transfer (.4).

Review and substantively revise draft
Complaint, including to add new Fraudulent
Transfer and Disallowance of Claims counts.
Attention to preparation of and revisions to
Complaint. .
Further revise Complaint, including to review
underlying garnishment judgment documents in
connection with same.

Revise complaint regarding stay violation,
transfer avoidance and review underlying
materials.

Review and edit Complaint (.4); finalize for
Trustee’s review (.1); confer with Trustee
regarding same (.1).

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Invoice Number ******

MIRICK, O'CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

02/25/14 goneil 0003 Review additional background materials and 1.50 382.50
augment Complaint with information including
facts regarding the $104K Transfer.

02/27/14 JHB 0003 Call, emails with Attorney Dees regarding FT 0.30 117.00
complaint issues and strategies.
02/27/14 goneil 0003 Review status of Complaint and issues for Atty. 0.10 25.50
Dees to address.
03/05/14 JHB 0003 Review revised complaint v. Arrow, next steps 0.30 117.00
and strategies.
03/05/14 goneil 0003 Follow up regarding Complaint and information 2.20 561.00

needed from Special Counsel (.1); review and
further edit Complaint (.6); telephone call
with Atty. Dees regarding Complaint (.2);
implement edits and email draft Complaint to
Atty. Dees for review (.2); review local rules
and attend to admission of Atty. Dees Pro Hac
Vice in Massachusetts Bankruptcy Court (.3);
prepare Motion to Admit Robert M. Dees Pro Hac
Vice (.6); confer with Trustee regarding
Complaint and procedural posture of Arrow
matters (.2).

03/06/14 JHB 0003 Review and revise modified complaint from 0.30 117.00
Attorneys Dees, consider additional counts.

03/07/14 goneil 0003 Confer with Trustee regarding edits to 0.10 25.50
Complaint.

03/09/14 JHB 0003 Review and revise modified complaint (adding 0.40 156.00

Suntrust as defendant), review related transfer
materials and issues.
03/09/14 goneil 0003 Review and revise Pro Hac Vice Motion for 1.70 433.50
Robert M. Dees (.2); revise and augment
Complaint to include Sun Trust Bank as a
defendant, including to review prior State
Court facts associated with each of the
Transfer matters (1.1); confer with Trustee
regarding Complaint (.2); implement Trustee’s
suggested edits and finalize Complaint (.2).
03/10/14 kmdellec 0003 Prepare adversary proceeding cover sheet. 0.20 37.00
03/10/14 goneil 0003 Finalize Pro Hac Vice Motion (.1); review and 0.60 153.00
revise AP Cover Sheet (.1); finalize Complaint
package, including Complaint, AP Cover Sheet,
and Pro Hac Vice Motion, and send to Atty. Dees
for filing, with a copy of local rules (.4).
03/11/14 JHB 0003 Review Dees revisions to complaint and emails 0.40 156.00
with same regarding filing, service issues.
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(Southern Sky Air & Tours, LLC)

(Re: Attorney Dees/Arrow) Review local rules
and Bankruptcy Court website as to pro hac
procedures; telephone call to/from Joanne at
Bankruptcy Court regarding same and report
results.

Emails with Atty. Dees regarding filing
Complaint and pro hac vice motion, review
logistics of Atty. Dees filing Complaint as a
non-admitted attorney, and attend to filing and
follow up regarding pro hac vice motion (.8);
finalize Complaint and AP Cover Sheet to
prepare for MODL attorney filing (.3).
Telephone call to Bankruptcy Court regarding
procedure for special counsel to obtain ECF
login/password; obtain registration form and
forward same to special counsel.

Review and edit Complaint.

Finalize and file Complaint; attention to
issuance of Summons (.1); email Atty. Dees with
as-filed Complaint, Summons, and summary of
next steps (.2).

Review open service list.

Review Bankruptcy Rules regarding service of
process on corporations and depository
institutions and email Atty. Dees with summary
of same.

Emails with Attorney Dees regarding open
complaint, service issues.

Forward copy of order allowing pro hac vice
motion to Attorney Dees via electronic mail.
Attention to approval of Special Counsel’s pro
hac vice appearance and logistics of ECF
capabilities.

Conference call with Attorneys Dees, Renner,
emails, review of litigation and settlement
strategies.

Review and consider settlement memoranda and
settlement options (.2); confer with Trustee
regarding merits of settlement (.1); emails
with special counsel regarding call (.1);
review Complaint to prepare for call (.2);
telephone call with Atty. Dees regarding
settlement negotiations and merits of
settlement (.4).

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Pagel05

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Air (Southern Sky Air & Tours, LLC)

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Review requirements for getting an Amended
Summons (.2); emails with Atty. Dees regarding
same (.1).

Continued: attention to settlement negotiations
and strategies, revise related agreement from
Arrow, related emails with Attorneys Dees,
Renner.

Review emails regarding settlement at $30K
(.1); emails with Trustee about approval
pleadings (.1); develop format for approval

motion and prepare memorandum outlining same

(.7).

Review file information and adversary
complaint; prepare approval motion, motion to
limit and certificate of service; review and
revise all (x3); review claim register to

determine if claims filed by Arrow or Sun Trust
Bank; review service list and revise to include

settlement parties.

Review Dees update regarding possible
settlement.

Track response to and from Attorney Dees as to
current version of settlement agreement.
Email special counsel to follow up regarding
settlement status (.1); consider Sun Trust’s
role in settlement (.1).

Revise settlement agreement, related emails
with Attorney Dees.

Track receipt of settlement agreement by
Attorney Dees; calendar ahead.

Continued revisions to draft settlement
agreement and related emails with Attorney
Dees.

Review Trustee’s comments on Settlement
Agreement.

Attention to Stipulation approval.

Review proposed settlement revisions, related
emails with Attorney Dees.

Review Settlement Agreement (.2); review and
substantively revise Motion to Approve
Settlement (2.0).

Emails with Attorney Dees regarding open
settlement issues, strategies to resolve.
Review emails with Special Counsel regarding

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

status of agreement.

05/26/14 JHB 0003 Review settlement status, related email to 0.10 39.00
Attorney Dees.
05/28/14 JHB 0003 Review revised settlement materials, related 0.30 117.00

emails with Attorney Dees regarding same and
approval issues, strategies.
05/28/14 goneil 0003 Review email from special counsel regarding 0.20 51.00
status of negotiations (.1) and follow up with
Trustee regarding approval pleadings (.1).

05/29/14 JHB 0003 Review status of avoidance action and next 0.20 78.00
steps.

05/30/14 kmdellec 0003 Review pacer docket and update litigation 0.10 18.50
control sheet accordingly.

06/04/14 JHB 0003 Emails with Attorney Dees regarding open Arrow 0.20 78.00
settlement issues, next steps.

06/05/14 JHB 0003 Review revised settlement agreement, related 0.20 78.00
emails with Attorney Dees.

06/06/14 .JHB 0003 Final review of settlement, release issues and 0.30 117.00
agreement (.2), related emails with Attorney
Dees (.1).

06/06/14 goneil 0003 Emails and conference with Trustee regarding 0.20 51.00

finalizing Settlement Agreement, and follow up
regarding signed agreement.

06/10/14 JHB 0003 Emails with Attorney Dees regarding open 0.20 78.00
settlement, approval issues.
06/10/14 goneil 0003 Compile fully-executed Settlement Agreement. 0.10 25.50
06/11/14 JHB 0003 Review open settlement, release issues. 0.20 78.00
06/12/14 JHB 0003 Review, revise settlement approval pleadings, 0.40 156.00
review underlying litigation materials.
06/12/14 goneil 0003 Review final executed Settlement Agreement 2.90 739.50

terms (.3); review and revise Motion to Approve
Settlement Agreement (1.3); email Attorney Dees
to follow up regarding final signature page
(.1); email Attorney Dees to follow up
regarding Sun Trust Bank service address (.1);
review and further revise approval motion
package (.8); finalize for Trustee’ s review
(.2) and memo to Trustee regarding same (.1).

06/13/14 JHB 0003 Review open settlement issues, related emails 0.20 78.00
from Attorney Dees.

06/13/14 goneil 0003 Email Attorney Dees regarding Stipulation and 0.10 25.50
Sun Trust Bank service address.

06/16/14 JHB 0003 Review open issues, resolution strategies and 0.20 78.00

emails regarding settlement.
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours, LLC)

Emails with Special Counsel regarding Sun Trust
Bank address.
Review open settlement issues, next steps
regarding approval, related email from Attorney
Dees.

Emails with Trustee and Special Counsel to
follow up regarding signatures and Sun Trust
Bank address.

Review Dees emails, open settlement issues,
strategies to resolve.

Emails with Special Counsel regarding
settlement and Sun Trust Bank address (.1);
update service list and prepare materials for
filing (.2).

Telephone call to Bankruptcy Court regarding
procedure for filing settlement agreement
without a caption; assist with efiling of
settlement pleadings.

Attention to filing logistics regarding
settlement (.2); revise settlement motion to
reflect (.1); finalize Certificate of Service
and service package and attend to filing same
(.2); attention to additional e-filing issues
including creation of a cover page (.2).

Review status of case/update litigation control
sheet accordingly.

Review email from Special Counsel regarding
amending settlement motion.

Emails from Attorney Dees regarding settlement
impediments, devise solutions.

Confer with Trustee (.1) and email. Atty. Dees
(.1) regarding Sun Trust’s comments on
settlement motion and issues regarding recovery
of interest from Sun Trust.

Review and revise supplement to settlement
motion.

Draft Notice of Supplement to approval motion,
including revising and finalizing same (.9);
email Trustee regarding same (.1).

Review settlement impediments, Sun Trust
concerns, related Dees emails, supplement
revisions.

Finalize Supplement and email Atty. Dees to
confirm Sun Trust approval (.2); review Special

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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Counsel’s proposed edits to Supplement (.1);
correspondence regarding same (.1); review. and
consider additional round of suggested edits
(.2); confer with Trustee regarding same (.1);
further revise Supplement (.2) and email
Special Counsel regarding same (.1); review
emails between Sun Trust counsel and Special
Counsel regarding resolution of Sun Trust
objection (.2); confer with Trustee regarding
same (.1).

Continued emails with Attorney Dees regarding
settlement.

Review substantive memorandum from Sun Trust
counsel about objections to settlement (.2);
consider implications and email Atty. Dees
regarding same (.2); review Garnishment
Judgment and additional emails between special
counsel and Sun Trust Bank counsel regarding
settlement negotiations (.3).

Review Court’s Order approving settlement.
Emails with Attorney Dees and review. open
settlement issues and strategies to resolve
(.8); craft related email to SunTrust counsel
to address concerns (.3).

Continued emails. with SunTrust counsel,
Attorney Dees regarding settlement, bank
objections.

Follow up regarding settlement issues with Sun
Trust Bank (.1); emails with Trustee and
Special Counsel regarding settlement order and
possible resolution with Sun Trust (.3).
Multiple emails with Attorneys Dees, SunTrust
counsel regarding agreement, supplement
revisions and approval, payment issues.

Review multiple emails among Trustee, Special
Counsel, and Sun Trust’s counsel regarding
amendment. to settlement motion and related
issues (.2); update Notice of Supplement and
emails with Trustee regarding same (.2);
further revise Notice of Supplement based on
input from Trustee (.1); multiple additional
communications with Sun Trust’s counsel and
Atty. Dees regarding updated Notice of
supplement (.4)

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

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Finalize and execute Notice of Supplement and
Certificate of Service.

Emails with Attorney Dees and revisions to
dismissal notice and stipulation.

Review status of case and update control chart
accordingly.

Review emails regarding trial court dismissal
documents.

Review revisions to updated control chart.
Review open issues, dismissal requirements
regarding settlement.

Attention to dismissal requirements.

Review settlement agreement; review Pacer to
confirm settlement motion approval order and to
confirm answer deadline; draft notice of
voluntary dismissal and confirm service list;
review and revise notice.

Review Form 2 and update litigation control
chart as to settlement proceeds
received/expected.

Review open issues, next steps in recovery
action and strategies for resolution.

Review dismissal pleadings and next steps,
revise dismissal notice.

Review and revise Notice of Voluntary
Dismissal.

Further revise Notice of Voluntary Dismissal
(.2); finalize Notice for e-filing (.1) and
follow up regarding same (.1).

Track closure of adversary proceeding by
Bankruptcy Court.

Review Court’s Order regarding disposition of
adversary proceeding and follow-up regarding
file wrap-up.

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Emails with Attorney Dees regarding settlement,
payment.

Emails with Attorney Dees, review new FL
pleading regarding continuing action v. Sun
Trust, funding of settlement.

Review email from Atty. Dees regarding Sun
Trust turnover status.

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MIRICK, O’ CONNELL Page110

Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

10/29/14 JHB 0003 Emails with Attorney Dees, Renner regarding 0.20 79.00
: settlement, funding issues and timing.

TYPE 0003 TOTAL 92.00 29,058.00

TASK: 0004 Adversary Proceeding

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 10.30 3,984.00 386.80

290 goneil Gina B. O’Neil 5.00 1,222.00 244.40

255 chorourk Cori B. O’Rour 0:60 114.00 190.00

281 jemurphy Jessica E. Mur 8.40 2,152.00 256.19

011 JOM John O. Mirick 1.20 480.00 400.00

231 KCPICKER Kenneth C. Pic 7.40 2,487.00 336.08

340 ihohmeis Ian C. Hohmeis 1.30 266.50 205.00

274 kmdellec Kimberly M. De 1.80 324.00 180.00

TYPE 0004 TOTAL 36.00 11,029.50

Time Detail Hours Value

06/18/12 JOM 0004 Analysis and advice on complying with Grand 0.40 158.00
Jury subpoena.

06/18/12 JHB 0004 U.S. Attorney subpoena - review compliance 0.60 228.00
issues and strategies.

06/19/12 JOM 0004 Analysis of Grand Jury document request. 0.20 79.00

06/19/12 JHB 0004 Continued attention to response including 1.10 418.00

document review, lengthy call and emails with
litigation team and Ms. Bley and Mr. Whitehouse
from VLPC (.8) and calls to U.S. Attorney,
agent Italia (.3).
06/19/12 KCPICKER 0004 Receipt and review of grand jury subpoena; 4.40 1,474.00
analysis of preliminary inventory; telephone
call with Direct Air team regarding grand jury
subpoena; letter to AUSA Holik regarding Notice
of Abandonment; letter to AUSA Holik and S.A.
Italia regarding Myrtle Beach contact
information.
06/19/12 kmdellec 0004 Review file information to determine landlord 1.50 270.00
contact information for Myrtle Beach locations
and West Virginia reservation center; telephone
call to Horry County State Bank to confirm
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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contact information; review lease for West
Virginia reservation Center to determine notice
party for landlord.

Review subpoena for records (.2); prepare for
call (.3) and telephone call with Trustee,
Verdolino & Lowey, and response team to
strategize regarding subpoenas, status and
location of Debtor’s records, and response to
subpoena (.8); assist with Landlord contact
information (.1).

Review letters to US Attorney regarding

‘subpoena and regarding Landlord contact

information (.1); review memoranda regarding
additional production (.1).

Continued attention to subpoena compliance
including review of correspondence, production
issues and strategies.

Telephone call from/to Agent Schwader regarding
West Virginia reservations center; follow up on
remaining contact information; letter to AUSA
Holik & S.A. Italia with additional contact
information; follow up with Agent Schwader
regarding Direct Air's schedule of property.
Review file information as to additional
landlord contact information.

Review compliance issues and strategies
regarding US Attorney Subpoena.

Telephone call with Agent Italia regarding
documents and information in custody of
Trustee; email to Agent Italia with document
inventory; telephone call with P. Bley
regarding status of documents, computers and
Quickbooks file.

Strategies regarding production and related
emails with Attorney Pickering.

Telephone conference with Agent Italia
regarding scope of investigation.

Review memos regarding additional request for
information from Agent Italia.

Call to Agent Italia regarding VNB issues, and
review related production issues.

Lengthy calls (2x) with Agent Italia regarding
VNB investigation. and related case issues.
Confer with Trustee regarding response to Agent

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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Invoice Number ******

Chapter 7 Trustee

Italia regarding flight data.

Review notes, compile contact information, and
draft memorandum. to Trustee regarding former
employees’ allegations, in response to Agent
Italia’s request (.5); confer with Trustee
regarding same (.1).

Plan for meeting with Agent Italia and compile
notes for same.

Prepare for meeting with Agents Italia and
Kavrakis (.5); meeting with Trustee and Agents
Italia and Kavrakis regarding scope of
bankruptcy investigation (1.2); follow up
regarding meeting (.1).

Multiple emails with special counsel, opposing
counsel regarding restitution, stay issues.
Obtain various pleadings from NY District Court
regarding Discover v. VNB in preparation of
deposition of Lori Rooney.

Phone call from F. Italia regarding DOT’s
request for Direct Air documents; initial
strategy regarding documents required to be
turned over and impact on Trustee's pending
litigation.

Review memorandum regarding DOJ subpoena (.1)
and strategize regarding privilege and document
turnover issues (.1).

Analysis and advice on DOJ request for
documents.

Continued strategies regarding DOJ document
requests, response.

Strategy regarding protection to certain Direct
Air work product/attorney impression documents;
strategy regarding response to DOJ’s request
for all of the Trustee’s Direct Air records.
Review emails regarding DOJ document request
and response to same.

Review DOJ document requests, open response
issues. ‘
Analysis regarding DOJ document requests.
Communications with DOJ regarding their request
for a meeting and information from Direct Air
files.

Call from DOJ (Attorney Atkinson) regarding
grand jury subpoena, investigation issues (.3),

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

devise response strategies (.2).

05/01/14 jemurphy 0004 Review voicemail from Attorney Atkinson 0.10 25.50
regarding Grand Jury Subpoena and strategy
regarding response.

05/19/14 JOM 0004 Review documents regarding advice on responding 0.30 121.50
: to grand jury subpoena.
05/19/14 JHB 0004 Review new subpoena, response strategies and 0.60 234.00
planning for 5/21 call.
05/19/14 KCPICKER 0004 Review Grand Jury Subpoena; strategize 0.30 106.50
regarding response to same.
05/19/14 jemurphy 0004 Review New Jersey Grand Jury Subpoena; review 1.90 484.50

prior subpoena and the extent of compliance;
analyze scope of documents requested and
documents protected by privilege; review rules
on Grand Jury production of documents; develop
initial plan for production of documents.

05/19/14 goneil 0004 Review memoranda regarding subpoena. 0.10 25.50

05/19/14 ihohmeis 0004 Research regarding response to duces tecum 1.30 266.50
subpoena issued by Grand Jury.

05/20/14 JHB 0004 Continued review of issues and materials in 0.40 156.00
preparation for 5/21 DOJ call.

05/21/14 JHB 0004 Continue assessment of subpoena and response 1.10 429.00

strategies (.4), participate in conference call
with U.S. Attorney and Mr. Italia regarding
same (.5), follow up emails (.2).

05/21/14 jemurphy 0004 Review NJ Grand Jury Subpoena; initial strategy 1.40 357.00
regarding response to subpoena.

05/22/14 JHB 0004 Further attention, emails regarding response to 0.30 117.00
subpoena, coordination with VLC.

05/23/14 JHB 0004 Continued attention to subpoena compliance, 0.30 117.00
document review, creditor meeting recording and
materials.

05/23/14 jemurphy 0004 Review initial production of documents in 0.60 153.00

response to NJ subpoena; draft correspondence
to F. Italia regarding the same; draft
memorandum to P. Bley regarding further
compliance with subpoena with Direct Air
documents in V&L's possession.

05/23/14 goneil 0004 Consider subpoena issues and assist with 0.10 25.50
response strategy.
05/26/14 JHB 0004 Review preliminary response to subpoena, next 0.30 117.00
. steps in production and related VLPC issues.
05/29/14 JHB 0004 Continued emails, strategies regarding subpoena 0.20 78.00

compliance.
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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Review communications with Attorney Atkinson
regarding subpoena response and costs; follow
up with P. Bley regarding access to Trustee's
documents and electronic information.

Phone call and email with P. Bley regarding
Grand Jury Subpoena, scope and format of
documents and information with V&L, and
applicable privileges.

Continued attention to response strategies,
issues for 6/5 conference call, review related
emails with production summaries.

Draft correspondence to Attorney Atkinson
regarding Trustee’s subpoena response from
documents/files with V&L.

Review open issues and strategies for 6/5
conference call with US Attorney.
Communications with Attorney Atkinson regarding
V&L's production of electronic records to
respond to Grand Jury Subpoena.

Review additional issues and materials in
preparation for conference call with US
Attorney, Attorney Murphy and investigator
Italia (.4), participate in same (with Ms. Bley
as well).

Conference call with the Trustee, P. Bley,
Attorney Atkinson and F. Italia regarding the
Trustee’s compliance with the Grand Jury
Subpoena; attend to preparation of initial
subpoena response with Rule 2004 Examination
transcripts and exhibits.

Continued review of subpoena response issues
and strategies, review related correspondence.
Attend to preparation of original documents for
subpoena response.

Follow up with P. Bley on production of
documents and information by V&L in response to
Grand Jury Subpoena.

Review correspondence from Attorney Atkinson
regarding production of Direct Air’s release
requests electronically; communications with P.
Bley regarding status of response to Grand Jury
Subpoena and response to Attorney Atkinson's
request.

Draft correspondence to Attorney Atkinson

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MIRICK, O’ CONNELL Pagel15

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

regarding request for additional Direct Air
documents electronically.
10/03/14 jemurphy 0004 Review documents requested by U.S. Attorney and 0.20 53.00
attend to preparation of original Direct Air
documents from Trustee’s files.

10/08/14 jemurphy 0004 Review and attend to production of original 0.30 79.50
Direct Air documents subpoenaed by Attorney
Atkinson,
TYPE 0004 TOTAL 36.00 11,029.50

TASK: 0005 Adversary Proceeding

Attorney Summary Hours Value Rate

139 JHB Joseph H. Baldiga 5.60 2,156.00 385.00

290 goneil Gina B. O'Neil 24.00 5,880.00 245.00

281 jemurphy Jessica E. Mur 0.20 49.00 245.00

162 RBG Robert B. Gibbons 0.30 108.00 360.00

TYPE 0005 TOTAL 30.10 8,193.00

Time Detail Hours Value
12/13/12 JHB 0005 Review Chartis subpoenas and devise response 0.90 346.50

strategies (.3), lengthy conference call with
Chartis counsel, Attorney Stotter regarding
same (.6).
12/13/12 goneil 0005 Telephone call with counsel to Chartis 0.90 220.50
regarding company records and subpoena response
(.7); follow up regarding same (.2).

12/14/12 goneil 0005 Review background regarding servers and backup 0.20 49.00
of company’s computers.
12/17/12 JHB 0005 Continued work, strategies regarding response 0.40 154.00
to Chartis subpoena, and related emails with
. VLPC.
12/17/12 goneil 0005 Investigate and review indexes of box records 2.20 539.00

(.2); review prior memoranda regarding
electronic data and Verdolino & Lowey for
overview of same (.4); compile index materials
responsive to subpoena (.2) and email Trustee
regarding same (.1); email index information to
Attorney Stotter (.2); review subpoena,
Case 12-40944 Doc 626-3 Filed 11/19/14 Entered 11/19/14 11:59:59 Desc Exhibit

MIRICK, O’ CONNELL

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Pagel16

Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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materials previously provided by non-debtor
sources (e.g. Valley National Bank), and
Federal Rules related to production of
documents, and consider additional potential
responses in light of broad scope of subpoena
(1.4).

Continued attention to Chartis subpoena
response and strategies.

Strategy planning / discussion regarding
responses to subpoenas; review rules.

Review subpoena for documents and analyze
required response.

Multiple emails with Attorney Stotter and
Verdolino & Lowey team regarding box
inventories and electronic records, and review
previous materials in connection with questions
and responses (.7); review next steps to
address subpoena (.1); confer with litigators
to review subpoena response requirements, and
develop structure of response (.6).

Continued attention to Chartis subpoena issues
and strategies.

Draft comprehensive response to Chartis
subpoena, including assessment of paper and
electronic records, proposed parameters for
production, and reservation of rights; review
background materials including prior notes and
correspondence in connection with preparing
response.

Revisions to multiple rounds of response to
Chartis subpoena and review of underlying case
materials, emails with VLPC, related analysis
and strategies.

Telephone call with Attorney Stotter to discuss
logistics of document review (.3); multiple
emails and calls with Verdolino & Lowey,
Trustee, and Attorney Stotter to coordinate
logistics and timing of document review (1.4).
Review Trustee’s comments on draft subpoena
response and consider additionals and edits
based on same (.3); compile exhibits for
subpoena response (.2); review and revise draft
subpoena response, including updates to reflect
new document review scheduling conversations

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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(.8); further edit response, format, and
finalize same for Trustee’s review (1.0);
implement Trustee’s edits, finalize, and send
response to Atty. Stotter (.6); follow up
regarding same (.1).

Lengthy call from Attorney Gurfein regarding
Chartis subpoena, turnover issues.

Review memorandum with bank counsel regarding
Chartis subpoena (.1); conference call with
Trustee and Merrick team regarding Chartis
subpoena (.3) and follow up regarding same
(.1).

Continued attention to Chartis subpoena issues,
strategies and related emails with Attorneys
Stotter, Gurfein and VLPC.

Multiple emails and telephone calls with
counsel to Chartis and Merrick, M. Mollo
(Verdolino & Lowey), and Trustee to coordinate
site visit access, documents, and logistics
associated with subpoena. .

Coordinate production of electronic data by
reviewing, assessing, and responding to various
emails with Chartis and Verdolino & Lowey team.
Further emails with VLPC regarding Chartis
inspection on 1/10, related costs.

Continued attention to arrangements for 1/10
Chartis/Merrick review at VLPC and review
related cast assessment issues.

Compile electronic 3rd party documents (e.g.
closing binder, Valley National Bank statements
and agreements) and follow up regarding
appropriate methods for delivery of same (1.2);
strategy with Trustee regarding production
logistics (.2); email Chartis/Merrick parties
with cost estimates and electronic copying
information (.4); multiple emails with group
regarding document review and mailing logistics
(.5). .

Continued attention to Chartis review
arrangements.

.Attend to preparation and delivery of CDs with

Debtor documents, including to draft, revise,
and finalize cover letters to Attorneys Gurfein
and Stotter reserving Trustee’s rights (.6);

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.Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

emails with Attorney Stotter regarding box
inventory and contents (.3).

01/09/13 goneil 0005 Emails with M. Mollo regarding additional box
inventory documents, and assess documents in
connection with same (.3); email Chartis group
with additional inventory (.2).

01/09/13 goneil 0005 Emails with M. Mollo and telephone call with
Attorney Stotter regarding final document
review logistics (.4); emails with group
regarding copying service logistics (.2).

01/10/13 goneil 0005 Travel to and from Verdolino and Lowey _
(including warehouse space), meet Chartis and
Merrick document review teams and assist with
preliminary review issues (2.5); emails with
Verdolino and Lowey about records review and
electronic document requests (.2).

01/16/13 goneil 0005 Review various memoranda with group regarding
electronic document production (.2); telephone
calls with Attorney Stotter regarding auditors,
Quickbooks, document production, and general
investigation (.4).

01/18/13 goneil 0005 Attend to copying logistics for requested
documents (.2); emails with M. Mollo regarding
same (.2).

01/24/13 JHB 0005 Review open issues, reimbursement strategies

regarding subpoena response.

01/24/13 goneil 0005 Address document request, delivery, and billing

issues, including emails with Attorneys Gurfein
and Stotter with related information.
01/25/13 goneil 0005 Follow up regarding Merrick document package.
02/05/13 goneil 0005 Confirm receipt of check for copying costs;
memorandum regarding -same.

TYPE 0005 TOTAL

TASK: 0006 Adversary Proceeding

Attorney Summary Hours Value Rate
139 JHB Joseph H. Baldiga 1.30 507.00 390.00
290 goneil Gina B. O'Neil 9.80 2,500.00 255.10

274 kmdellec Kimberly M. De 6.70 1,239.50 185.00

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TYPE 0006

Joseph H. Baldiga,

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Time Detail

08/13/13

08/22/13

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08/27/13

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Invoice Number ******

Chapter 7 Trustee
(Southern Sky Air & Tours, LLC)

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Review and assess Fairfield Inn Proof of Claim
and possible defenses based on demand
recipient’s failure to respond (.4).

Draft and review/revise Adversary Complaint vs.

Fairfield Inn Broadway; attention to conflict
check; review supporting documents.

Review conflict search results regarding
Fairfield Inn and review draft complaint.
Assist with preparation of Complaint v.
Fairfield Inn,

Review revised Fairfield Inn Complaint and
Adversary Proceeding cover sheet and finalize
for Trustee’s review.

Revise complaint and review underlying
materials.

Review and finalize cover sheet, complaint and
exhibits for efiling.

Implement Trustee’s suggested edits into
Fairfield Inn Complaint (.1); finalize and
execute Complaint and Adversary Proceeding
cover sheet for filing (.1); update chart
regarding same (.1).

Strategy regarding timing and logistics of
Complaint filing.

Telephone call to South Carolina Office of the
Secretary of State to confirm address of
registered agent.

Finalize summons and transmittal letter
regarding service of same.

Attend to issues regarding determination of
registered agent service address.

(Fairfield) Review summons and service package,
research service (including via. South Carolina
law and/or Secretary of State) in context of
previously-returned mail from Registered Agent,
and execute service package.

Update preference chart regarding
complaint/answer deadline; calendar regarding
answer deadline.

Track Answer deadline.

Hours Value
0.40 102.00
1.30 240.50
0.20 37.00
0.10 25.50
0.40 102.00
0.30 117.00
0.50 92.50
0.30 76.50
0.10 25.50
0.10 18.50
0.30 55.50
0.10 25.50
0.70 178.50
0.10 18.50
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MIRICK, O'CONNELL

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Air (Southern Sky Air & Tours, LLC)

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Track proof of service.

Confirm defendant's receipt of Complaint;
follow-up regarding summons.

Track answer deadline.

Draft application for default and default

‘judgment, affidavit and certificate of service;

review Pacer docket to confirm case
information; review and revise all.

Default issues, strategies.

Note passing of Answer deadline, emails with
Trustee regarding default, and attend to
default process.

Review and revise application for default,
proposed default judgment and attorney
affidavit.

Follow up regarding Motion for Default
Judgment .

Review revisions to default pleadings (x2) and
finalize for efiling.

Review and edit Application for Default and
Default Judgment, proposed Judgment, and
Affidavit, and review default judgment rules,
"Soldiers & Sailors" citation, and interest
accrual rules in connection with same.

Review, revise default request.

Finalize default pleadings for e-filing;
prepare declaration regarding electronic filing
regarding affidavit of attorney; assist with
e-filing of same.

Review, edit, and finalize default package for
Trustee's review.

Review docket regarding Clerk’s entry of
Default.

Draft and review certificate of service
regarding notice of default.

Coordinate efiling of certificate of service
regarding notice of default; update control
sheet and calendar ahead for receipt of hearing
date.

Review summary of next steps to address default
and determine next steps to address (.2);
review and execute Certificate of Service
package for default (.1).

Review open default matters and strategies for

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Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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1/9 hearing.

Prepare certificate of service regarding notice
of hearing regarding application for default.
Review Court’s Order scheduling default
hearing, track relevant dates, and attend to
Notice of Hearing (.1); review and execute
Certificate of Service regarding Notice of
Hearing (.1).

Prepare for default hearing coverage.

Prepare materials for default hearing,
including to identify issues to investigate
prior to hearing.

Confirm file in order regarding hearing on
default.

Strategies regarding 1/9 default hearing and
review underlying judgment, notice issues and
materials.

Prepare for default hearing, including research
into proper service of process and inclusion of
attorneys fees in default judgment (including
potential methods of requesting allowance of
such fees from the Court) (1.5); prepare notes
and materials for default judgment hearing
(.6); consider modifications. to Complaint
and/or named entities (.3); confer with Trustee
regarding same (.1).

Review judgment, claim issues in response to
Court comments and devise strategies for future
judgments.

Draft certificate of service and transmittal
letter regarding service of judgment.

Consider addition of claim disallowance to
Judgment and revise Judgment to reflect same
(.3); compile documents and materials for
Default Judgment hearing (.4); travel to and
from Bankruptcy Court and represent Trustee at
hearing on Default Judgment (1.5); memorandum
to Trustee with hearing summary (.1).

Review Court’s Judgment (.1) and attend to
prescribed notice (.1); review, revise, and
execute Certificate of Service regarding
Judgment and corresponding letter regarding
same (.1).

Follow up regarding Judgment and next steps.

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

01/22/14 goneil 0006
01/28/14 goneil 0006

08/05/14 goneil 0006

TYPE 0006

Review next steps to address Judgment.

Review new docket entries regarding disposition
of adversary proceeding.

Investigate options to address and collect on
Judgment.

TOTAL

TASK: 0007 Adversary Proceeding

Attorney Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
255 cborourk Cori B. O’Rour
274 kmdellec Kimberly M. De
TYPE 0007 TOTAL

Time Detail

08/23/13 kmdellec 0007

08/26/13 kmdellec 0007
08/30/13 goneil 0007

09/03/13 goneil 0007

09/04/13 JHB 0007

Hours Value Rate
1.20 468.00 390.00
11.30 2,881.50 255.00
0.40 76.00 190.00
7.80 1,444.00 185.13

20.70 4,869.50

Review file information, attention to conflict
search and draft adversary complaint (The
Station, Inc.); review Secretary of State
web-site in South Carolina and Georgia to
determine status of defendant.

Revise and review (x2) complaint vs. The
Station, Inc. to include Count II pursuant to
Section 548.

Review and revise The Station fraudulent
transfer Complaint (.9); review and revise The
Station Adversary Proceeding cover sheet (.1).
Assist with edits to The Station Complaint
(.1); update Exhibits and counsel information
for The Station Complaint and Adversary
Proceeding cover sheet, and augment Complaint
to include an Intentional Fraudulent Transfer
count (in addition to Constructive Fraudulent
Transfer) (.8); identify questions for Trustee
(.1); review revised version of The Station
Complaint and finalize for Trustee’s review
(.4).

Revise complaint and review underlying

0.10 25.50
0.10 25.50
0.10 26.50
17.80 4,246.50
Hours Value
1.50 277.50
1.00 185.00
1.00 255.00
1.40 357.00
0.30 117.00
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MIRICK, O’ CONNELL Page123

Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

materials.
09/05/13 goneil 0007 Review Trustee’s comments on Complaint. 0.10 25.50
09/16/13 goneil 0007 Revise, augment, and finalize The Station 0.90 229.50
fraudulent transfer Complaint for Trustee’s
review.
09/17/13 JHB 0007 Revise complaint, review underlying transfer, 0.40 156.00.
- lease materials.
09/17/13 goneil 0007 Review Trustee’s suggested edits to Complaint 0.70 178.50

(.1); strategize with Trustee regarding
intentional fraudulent transfer count (.1);
revise Complaint consistent with Trustee's
suggested edits (.4); review revised draft and
finalize for Trustee’s review (.1).

09/18/13 goneil 0007 Finalize and execute Complaint package for 0.10 25.50
. filing.
09/19/13 kmdellec 0007 Final review of complaint, cover sheet and 0.70 129.50

exhibit; attention to e-filing of same; draft
transmittal letter and complete summons.

09/19/13 goneil 0007 Follow-up regarding filing of Complaint. 0.10 25.50

09/20/13 goneil ~ 0007 Assist with service issues. 0.10 25.50

09/23/13 goneil 0007 Review and confirm notice issues and execute 0.20 51.00
summons package.

09/24/13 chorourk 0007 Serve Summons on defendant, US Trustee and 0.40 76.00

Attorney Jones; file executed Summons with
Bankruptcy Court.

10/03/13 kmdellec 0007 Track proof of service 0.10 ' 18.50
10/04/13 goneil 0007 Follow-up regarding receipt of summons. 0.10 25.50
10/14/13 goneil 0007 Telephone call with Mr. Jones (president) _ 0.60 153.00

regarding Complaint and possible defenses (.4);
review follow up email from Mr. Jones (.1);
follow up telephone call from Mr. Jones (.1).

10/15/13 JHB 0007 Resolution strategies regarding preference 0.30 117.00
. action and review new. defense materials.
10/15/13 goneil 0007 Analyze and assess impact of potential defenses 1.50 382.50

and develop proposed counteroffer (.3);
strategize with Trustee regarding defenses and
counteroffer (.1); prepare for call to Mr.
Jones regarding offer (.1) and telephone call
with Mr. Jones to negotiate deal (.4); confirm
deal terms with Trustee (.1); email Mr. Jones
regarding terms of Settlement Agreement (.3)
and attend to tracking and preparation of same
(.1); review response from Mr. Jones (:1).
10/16/13 kmdellec 0007 Draft and review/revise stipulation of 2.80 518.00
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MIRICK, O'CONNELL

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Joseph H. Baldiga,

F (Part 2) Page 48 of 73

Chapter 7 Trustee

Direct Air (Southern Sky Air & Tours, LLC)

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settlement (1.2); draft and review/revise
approval motion, motion to limit notice and
certificate of service and confirm current
service list (1.6).

Follow up regarding settlement agreement.
Review, revise, and augment Stipulation (.8);
further edit Stipulation (.2) and review
Bankruptcy Rules regarding dismissal of
Adversary Proceedings (.1); email Stipulation
to Mr. Jones (.1).

Review settlement stipulation, related transfer
materials.

Review revisions to settlement pleadings and
timing for e-~-filing and service of same;
finalize all for e-filing; track order allowing
motion to limit notice.

Follow up regarding status of Stipulation and
Answer deadline (.1); review and respond to
email from T. Pittinger attaching signature
pages (.1); review and respond to email from T.
Pittinger regarding payment logistics (.1);
review and revise Motion to Approve Stipulation
(.6); review and revise proposed Order
approving Stipulation (.1); review and revise
Motion to Limit Notice with proposed Order
(.1),.and Certificate of Service (.1); attend
to e-filing logistics (.1); confer with Trustee
(.1) and finalize Stipulation approval package
for filing (.1).

Review Court's Order Limiting Notice (.1);
attend to identifying and resolving docketing
and electronic filing issues associated with
Stipulation (.3).

Track. receipt of settlement funds.

Confirm receipt of settlement funds.

Draft and review/revise notice of dismissal and
confirm service list.

Review Court’s Order approving Stipulation,
track relevant deadlines and attend to timing
of dismissal of adversary proceeding.

Review and revise Notice of Voluntary Dismissal
(.1); finalize and execute same (.1); email Mr.
Jones with copy of Order approving Stipulation
and update chart (.2).

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MIRICK, O'CONNELL Pagei25
. Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190° Direct Air (Southern Sky Air & Tours, LLC)

12/02/13 kmdellec 0007 Finalize notice of dismissal for efiling and 0.20 37.00
service.

12/03/13 goneil 0007 Follow up regarding entry of final order and 0.10 25.50
filing Notice of Dismissal.

12/05/13 kmdellec 0007 Forward date stamped copy of notice of 0.10 18.50
dismissal to Q. Jones via electronic mail.

12/05/13 goneil 0007 Attend to filing Notice of Dismissal and follow 0.10 25.50
up regarding same.

12/06/13 goneil 0007 Wrap up matter and subfile. 0.10 25.50

12/30/13 kmdellec 0007 Track closure of adversary proceeding by 0.10 18.50

, Bankruptcy Court.

08/01/14 kmdellec 0007 Review Form 2 and update litigation control 0.10 19.50
chart as to settlement proceeds
received/expected.

TYPE 0007 TOTAL 20.70 4,869.50

TASK: 0008 Adversary Proceeding

Attorney Summary . Hours Value Rate

139 JHB Joseph H. Baldiga 0.30 117.00 390.00

290 goneil Gina B. O'Neil 3.20 816.00 255.00

281 jemurphy Jessica E. Mur 0.40 102.00 255.00

TYPE 0008 TOTAL 3.90 1,035.00

Time Detail . Hours Value
09/03/13 goneil 0008 Review revised Global Payments Complaint and 0.20 51.00

Adversary Proceeding cover sheet and finalize
for Trustee’s review.

09/04/13 JHB 0008 Revise complaint and review underlying 0.30 117.00
materials.
09/05/13 goneil 0008 Review Trustee’s comments about delivery of 0.50 127.50

Complaint (.1); prepare letter to Global
Payments enclosing draft Complaint (.2); revise
and finalize letter to Global Payments and
counsel (.1); update chart regarding all (.1).

09/16/13 goneil 0008 Note passage of response deadline and attend to 0.10 25.50
filing Complaint.
09/17/13 goneil 0008 Review email from Global Pay representative 0.10 25.50

responding to draft Complaint.
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MIRICK, O'CONNELL

15008 Joseph H. Baldiga,
14190 ‘Direct Air (Southern Sky Air & Tours, LLC)

09/18/13 jemurphy 0008
09/18/13 goneil 0008

09/26/13 goneil 0008

10/01/13 goneil 0008

11/11/13 goneil 0008

11/12/13 goneil 0008

11/13/13 goneil 0008

11/14/13 goneil 0008

12/06/13 goneil 0008

TASK:

TYPE 0008

Attorney Summary

LS2
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PWC Paul W. Carey

JHB Joseph H. Baldiga
goneil Gina B. O'Neil
jemurphy Jessica E. Mur
kmdellec Kimberly M. De

CYPE 0009 TOTAL

time Detail

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Invoice Number ******

Chapter 7 Trustee

Develop discovery plan.

Attend to timing and withdrawal of Global Pay
Complaint filing (.1); review and assess Global
Pay’s initial response and respond with request
for backup information (.4); review and respond
to follow-up emails regarding same (.2).

Track multiple emails received from Attorney
Sauer.

Attention to voluminous responses from Global
Pay representative.

Review response and invoice backup from
Attorney Sauer and consider likely complete OCB
defense based on same (.4); email Attorney
Sauer to request copy of Master Services
Agreement (.1); memorandum to chart regarding
analysis (.1).

Review email from Attorney Sauer regarding
Merchant Agreement.

Review emails from Attorney Sauer attaching
Merchant Agreements.

Review multiple Merchant Agreements and assess
defenses and viability of Complaint based on
same.

Confer with Trustee regarding recommendation
for NFA (.1); attention to file wrap-up and
updating chart to reflect NFA (.1).

TOTAL

0009 Adversary Proceeding

Hours Value Rate
0.60 225.00 375.00
11.90 4,658.00 391.43
48.40 12,465.00 257.54
5.70 1,453.50 255.00
12.40 2,341.00 188.79

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Value

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Invoice Number ***#**
15008 Joseph H. Baldiga, Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

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Update chart to reflect additional returned
mail from Miami Air and tag for second demand
letter (.1).

Email Attorney de Zayas to inquire about status
of Miami Air International (.2).

On-line search regarding Miami Airlines, Inc.;
attend to conflict search and review claims
register regarding possible proof of claim;
draft cover sheet and complaint and review and
revise same (1.2).

Assist with preparation of Miami Air Lines
Complaint (.1).

Review and assess Miami Air Complaint and
identify possible relationship (or similiarity
to) other demand recipient Miami Air
International. (.2).

Review email from M. Whitehouse with backup for
Miami Air International transfers.

Review backup for Miami Airlines and determine
likely same payee as Miami Air International,
Inc.; attend to consolidating Complaints and
updating chart to reflect same.

On-line search of Florida Department of State
web-site regarding corporate name/status;
review file information and revise complaint to
include all payments. and cover sheet; review
and revise all. ,

Review and revise complaint and review
underlying transfer materials.

Finalize complaint for efiling.

Review and revise Complaint and Adversary
Proceeding cover sheet; assess service and
exhibit issues in connection with same (.6);
review wire and debit transactions and identify
questions for Trustee prior to filing Complaint
(.3); confer with Trustee regarding
identification of transfer recipients (.1).
Draft transmittal letter enclosing
complaint/summons and prepare certificate of
service regarding same.

Finalize Complaint package, execute, and
prepare for filing (.1); review Summons and
track Answer deadline (.1); update chart (.1).
Finalize transmittal letter for service and

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

11/20/13 goneil 0009 Review, augment, and execute summons service 20 51.
package.
11/21/13 JHB 0009 Review complaint, transfer materials. .20 78.
11/27/13 kmdellec 0009 Attend to return of service and update control .20 37.
sheet accordingly. '
12/05/13 kmdellec 0009 Track receipt of additional proof of service. .10 18.
12/06/13 goneil 0009 Review status of Complaint and Answer. .10 25.
12/19/13 JHB 0009 Emails with preference counsel with answer .10 39,
issues, extension.
12/19/13 goneil 0009 Communications regarding Defendant’s request .10 25.
for Answer deadline extension.
12/20/13 goneil 0009 Review counsel's Pro Hac Vice Motion. .10 25.
12/23/13 goneil 0009 Review Court’s Order granting pro hac vice .20 51
motion (.1); review Defendant’s newly-filed
Answer (.1).
12/27/13 goneil 0009 Review next steps to address litigation timing. .10 25.
01/06/14 goneil 0009 Review Pretrial Order and track 26(f) deadline .20 306.
(.1); review file, including Complaint, prior
responses, and Answer, to prepare for same
(.4); email Attorney Correa regarding 26(f)
Conference scheduling and potential resolution
(.4); memorandum to Trustee regarding
Defendant's new defenses (.2); review
Massachusetts Court rules to investigate Stern
v. Marshall issues (.1).
01/07/14 JHB 0009 Review answer and strategies in relation to .30 117.
defenses raised.
01/07/14 kmdellec 0009 Track discovery deadlines/pre-trial order; .20 37.
: update control sheet.
01/07/14 goneil 0009 Confer with Trustee regarding "earmarking" .20 51
defense and consider next steps to address.
01/07/14 goneil 0009 ° Review emails from counsel regarding scheduling .10 25.
26(£) conference and calendar same.
01/15/14 kmdellec 0009 Track additional returned mail. .10 18.
01/21/14 JHB 0009 Review open discovery issues, analysis of .40 156.
asserted defenses, and devise settlement ,
parameters.
01/21/14 PWwc 0009 Discussion regarding claim of defendants .60 225.
regarding jurisdiction and reviewed case law
regarding impact of Stern v. Marshall on
preference actions.
01/21/14 jemurphy 0009 Review preference complaint and Defendant's .60 408.

certificate of service for efiling.

claimed defenses; strategize regarding

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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

settlement options; prepare for Rule 26(f)
Conference; communications with Attorney Correa
regarding defenses to the Trustee’s claims;
strategy regarding amending the complaint and
settlement position on additional transfers.

01/21/14 goneil 0009 Prepare for 26(f) Conference, including to
assess possible defenses and develop potential
settlement strategies.

01/21/14 goneil 0009 Review pre-trial order and calculate and track
all relevant deadlines(.3); emails with
Attorney Correa regarding logistics of 26(f£)
Conference (.2); confér with Trustee regarding
26(£) Conference preparation (.1); additional
strategy regarding 26(f) Conference and related
planning (.2).

01/21/14 goneil 0009 Research and investigate Stern v. Marshall
issues in context of Answer and procedural next
steps.

01/21/14 goneil 0009 Prepare Graft 26(f£) Conference Report and

Certificate of Service, including to develop
discovery subjects (.7); review and revise same
(.1).

01/21/14 goneil 0009 Review backup materials for preference action,
identify potential new preferential payment,
and consider amendment to Complaint and
presentation to defendant based on same (.4);
assess defendant’s exposure on account of new
transfer, after known new value (.3B)e
memorandum to Trustee regarding new payment,
amendment to Complaint, and possible new value
defenses (.4).

01/22/14 JHB 0009 Further defense analysis, discovery issues.

01/22/14 jemurphy 0009 Conduct Rule 26(f) conference with Miami Air.

01/22/14 goneil 0009 Review menorandum regarding mechanics of
amending Answer.

01/22/14 goneil 0009 Review proposed edits to 26(f) Conference
Report and plan for 26(f) Conference based on
same.

01/22/14 goneil 0009 Prepare notes for 26(£) Conference (.2);

conduct 26(f£) Conference with Attorney de Zayas
(.3); follow up regarding conference (.1).
01/22/14 goneil 0009 Email Attorney de Zayas to follow up regarding
, conference and next steps (.1); memos with
Trustee regarding summary of 26(£) conference

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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and analysis of same (.2) next anticipated
deadlines (.1).

Prepare Trustee’s Initial Disclosures, with
cover letter (.4); revise and augment 26(f)
Conference Report (.3).

Review open discovery, production issues.
Review, assess, and edit Miami Air’s draft
Joint Motion to Continue Deadlines (.3); emails
with Trustee regarding same (.1); consider
impact of extension on other deadlines (.1).
Review and edit discovery requests.

Review open discovery issues, emails, expanded
discovery scope and deadlines.

Further review of transfer materials, defense
analysis and settlement parameters, and related
emails from defendant counsel.

Revise and augment 26(f) Conference Report and
finalize same for review (.4); revise and
augment Trustee’s Initial Disclosures and
finalize same for review (.3).

Review email from Atty. de Zayas about status
of response.

Assess asserted defenses and related research,
devise settlement parameters.

Preliminarily review response and analysis
emailed from Atty. de Zayas (.2); consider
steps needed in adversary proceeding in event
of no settlement (.2); confer with Trustee
about assessment of Miami’s analysis (.1).
Finalize 26(f) Report and Trustee’s Initial
Disclosures for review.

Further analysis, document review regarding
asserted defenses and devise settlement
strategies.

Draft first set of interrogatories, requests
for admissions and request for production of
documents; review and revise all.

Review and assess Miami’s preference response,
including analysis, exhibits, and defenses and
to develop recommendation for Trustee (1.2);
confer with Trustee regarding same, including
to strategize regarding response and possible
settlement terms (.3).

Finalize draft 26(f) Report and Initial

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MIRICK, O’ CONNELL

15008 Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

14190 Direct Air

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02/12/14 goneil 0009

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02/21/14 JHB 0009

02/21/14 jemurphy 0009
02/21/14 goneil 0009

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Invoice Number ******

Chapter 7 Trustee.

Disclosures with cover letter for transmittal
to Atty. de Zayas.

Revise 26(f) report; further attention to
settlement parameters.

Review and respond to defendant’s proposed
changes to the Rule 26(f) Certification Report
regarding discovery to be conducted on Direct
Air's depository accounts.

Email Atty. de Zayas with response to
preference/settlement analysis, Trustee’s
Initial Disclosures, and draft 26(f) Conference
Report (.8); email Atty. Correa with revised
Report (.1); follow up call with Trustee
regarding "escrow" designation (.1); execute
final 26(f) Report and Certificate of Service
and attend to filing of same (.2); telephone
call with Atty. Correa to follow up regarding
same (.1); review Defendant’s Initial
Disclosures (.1) and consider requested edits
to 26(f) Report (.1); modify 26(f) Report and
finalize for signature (.2) and email final
version to Atty. Correa for signature (.1);
additional emails and telephone call with
Defendant’s counsel and Trustee to negotiate
26(f) Report language (.2); revise 26(f) Report
to reflect (.1); attention to preparation of
discovery request documents (.1).

Review, revise, and develop discovery requests
(Request for Production of Documents,
Interrogatories, and Request for Admissions),
including to specifically address Miami Air's
"earmarking" defense (2.0); assist with
procedural strategy for amended Complaint and
Summons (.1); revise and finalize discovery
requests for review (.3).

Review discovery requests and related defense
materials.

Edit discovery requests.

Further develop discovery requests (.7);
implement suggested edits into all three
discovery request documents (1.1).

Review, finalize, and execute discovery
requests (.5); email discovery requests to
Atty. de Zayas (.1).

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15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

03/06/14 goneil 0009 Update chart to reflect Pre-Trial Order 0.10 25.50
discovery-related deadlines.

03/07/14 kmdellec 0009. Assist with possible service of amended 0.40 74.00
complaint and alias summons.

03/17/14 goneil 0009 Review relevant deadlines and consider timing 0.20 51.00

. to amend Complaint.

03/17/14 goneil 0009 Review issues regarding amendment of Complaint. 0.20 51.00

03/18/14 goneil 0009 Telephone call from Atty. Correa regarding 0.10 25.50
extension of discovery deadline.

03/21/14 jemurphy 0009 Begin to draft Motion to Amend COmplaint to add 0.40 102.00
additional transfers to defendant.

03/24/14 jemurphy 0009 Strategy regarding defendant’s request 0.50 127.50
regarding extension of discovery deadlines.

03/24/14 goneil 0009 Strategize regarding amending Complaint. 0.10 25.50

03/24/14 goneil 0009 Emails with Defendant's counsel regarding 0.20 51.00
discovery deadlines and track extended dates.

03/26/14 jemurphy 0009 Communications with opposing counsel regarding 0.50 127.50

proposed P.O. and strategy regarding relief
. requestd by defendants.
03/26/14 goneil 0009 Two telephone calls with Atty. Correa regarding 0.70 178.50
discovery issues (.2); ‘strategize regarding
response to questions about protective order
and extension of discovery deadline so Miami
can issue Interrogatories (.4); attention to
email from Atty. Correa attaching discovery
responses (.1).

03/26/14 goneil 0009 Attention to email from Atty. Correa attaching 0.10 25.50
discovery responses.

03/27/14 JHB 0009 Review open discovery issues and strategies and 0.30 117.00

: related extension request, emails.

03/27/14 goneil 0009 Consider response to Miami counsel regarding 1.30 331.50

potential proposed Interrogatories (.1); draft
email to Atty. Correa regarding Interrogatories
and escrow-related data, including to review
Bankruptcy Rules regarding discovery (.9);
confer with Trustee regarding same (.1);
implement suggested edits into email message
and send same to Mr. Correa (.2).
03/27/14 goneil 0009 Review response to Request for Production 0.30 76.50
Documents (.1); review email from Atty. Correa
with Confidentiality Agreement and consider
confidentiality issues (.2).
03/28/14 JHB 0009 Review discovery responses, analysis of. defense 1.10 429.00
assertions, multiple emails with defendants’
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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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counsel refuting same.

Attention to issues regarding protective order
and attendant discovery.

Review discovery rules and proposed
Confidentiality Agreement and confer with
Trustee regarding same (.6); multiple telephone
calls and emails with Atty. Correa regarding
discovery and potential information needed for
settlement negotiations (.4); review multiple
emails between Trustee and counsel regarding
discovery and settlement (.3).

Further analysis, offer revisions and evaluate
response.

Review correspondence between the parties
regarding the defendant’s claimed defenses and
possible settlement.

Review next steps to develop negotiations (.1);
consider whether reconciliation of flights
would impact amounts owed as credit to estate
and cross-check flight logs and contracts to
evaluate and reconcile same (.6); develop
strategies and recommendations for Trustee
regarding settlement possibilities (.5); review
findings with Trustee and strategize regarding
next requests for information from Miami (.2).
Evaluate Miami's "advance payment" defenses by
reviewing contracts and cross-checking against
"flights flown" spreadsheets from Miami.

Review mailed discovery response documents.
Commence email to Defendants’ counsel regarding
analysis and additional information needed.
Continue negotiations and arrive at settlement.
Continue drafting email to counsel requesting
ordinary course of business history for
emergency "cover" flights (.5); review response
regarding history (.1).

Review mail from Defendant including Answers to
Interrogatories.

Telephone call with Atty. Correa regarding
extension of deadlines (.1); follow up to
prepare Joint Motion to Continue (.1).
Telephone call and email with Atty. Correa
regarding extension of Pretrial Order
deadlines.

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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Chapter 7 Trustee

Strategy regarding litigation deadlines and
settlement efforts; edit Motion to Continue °
case deadlines; edit correspondence to opposing
counsel regarding settlement efforts and
continuance of litigation deadlines.
Telephone call from Atty. Correa regarding
extension of deadlines (.1); review issues
attendant to extension of trial-related
deadlines, including unresolved confidentiality
and discovery issues (.8); revise, reformat,
and update Miami’s proposed Joint Motion to
Extend based on same (.6); prepare email to
counsel reserving rights regarding discovery
issues and attaching updated Motion (.3);
review Court’s Order granting Motion (.1),
calendar extended deadlines (.1) and email
Order to Atty. Correa (.1).

Review timeline and assess settlement.
Telephone call from Defendant’s counsel
regarding timing to provide analysis.

Review open litigation issues, resolution
strategies and emails.

Review email from Atty. Correa attaching
ordinary course analysis.

Telephone call from Atty. Correa regarding
settlement analysis.

Further review of open issues, settlement
negotiations, assess defenses and devise
strategies to resolve; review related discovery
issues, opposing counsel emails.

Review open discovery, settlement issues and
strategies.

Continued attention to open discovery,
settlement issues, strategies and related
emails.
Review defense, transfer, asset materials and
devise settlement parameters, revise
counteroffer regarding same.

Follow up regarding status of matter.

Review status of avoidance action and next
steps.

Review and assess additional ordinary course
(for sub-service) spreadsheet from Miami.
Review pacer docket and update litigation

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
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(Southern Sky Air & Tours,. LLC)

control sheet accordingly.

Plan next steps for response based on OCB
analysis.

Continue reviewing ordinary course payment
information and commence email to Atty. Correa
regarding same.

Review negotiation, defense issues and
settlement parameters, strategies.

Review litigation issues and deadlines and
prepare Second Assented-to Motion to Continue
(.5); finalize motion for Defendant's review
(.1); telephone call and email to Attorney
Correa regarding motion to extend (.3); review
OCB analysis (.3); telephone call with Attorney
Correa regarding substantive settlement (.2);
finalize and execute motion package for filing
(.2); memorandum to Trustee regarding
settlement discussions (.1).

Review Court's order extending deadlines and
track new deadlines.

Review status of case/update litigation control
sheet accordingly.

Emails with Attorney Correa regarding
settlement proposal.

Telephone call from Atty. Correa regarding
settlement.

Emails and telephone calls with Atty. Correa
regarding potential settlement offer.

“Review discovery status and issues,

counteroffer and related defense assertions.
Review status of case and update control chart
accordingly.

Review revisions to updated control chart.
Review upcoming deadlines and next steps.
Review open issues, next steps in recovery
action and strategies for resolution.

Review and assess settlement proposal.

Devise strategies, support for settlement.
Review next steps to-address settlement
proposal and upcoming deadlines.

Evaluate Miami Air’s settlement proposal,
including to review prior spreadsheet and
correspondence and to prepare substantive email
to Atty. Correa regarding discrepancies in

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MIRICK, O'’ CONNELL Page136

Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

offer (1.3); email Trustee regarding same (.1);
telephone call with Atty. Correa regarding
discrepancies (.1) and follow up email
regarding same (.2).

08/11/14 JHB 0009 Review open recovery, settlement issues.

08/11/14 goneil 0009 Attention to extending Pretrial Order deadlines
based on pending settlement issues.

08/12/14 JHB 0009 Review open discovery, document production

issues and strategies, and strategies regarding
continuing settlement discussions.

08/12/14 goneil 0009 Prepare Third Assented-To Motion to Extend
Pretrial Order deadlines (.5); finalize Motion
(.1) and email Defendant’s counsel regarding
same and to follow up regarding settlement
status (.2); attend to e-filing extension
motion (.1).

08/13/14 kmdellec 0009 Confirm pre-trial order dates.

08/13/14 goneil 0009 Review and track Court’s Order extending
deadlines.

08/18/14 goneil 0009 Emails with Atty. Correa to follow up regarding
settlement questions.

08/20/14 JHB 0009 Review and evaluate counteroffer and review

underlying transfer, defense materials, and
reach settlement.

08/20/14 kmdellec 0009 Draft stipulation, approval motion, motion to
limit and certificate of service; review and

revise all; determine service list.

08/20/14 goneil 0009 (Miami) Telephone call with Attorney Correa
(.1) and consider potential settlement proposal
relayed informally during call (.2); follow-up
call with Attorney Correa regarding final offer
(.1); review settlement email and assess and
consider final settlement offer, including to
develop recommendation for Trustee and to draft
memorandum to Trustee with recommendations

regarding settlement (1.2).

08/21/14 kmdellec 0009 Revisions to service list and certificate of
service; track transmittal of draft settlement
agreement to counsel and Form W-9; calendar
ahead for receipt of executed copy.

08/21/14 goneil 0009 Attention to preparation of settlement
pleadings (.2); email Atty. Correa regarding
settlement (.1); emails with Atty. Correa
regarding W-9 and payment details (.1);

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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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telephone call with Atty. Correa regarding
additional settlement terms and approval
logistics (.2); review and revise Settlement
Agreement, including to review Defendant's
prior Answer and asserted defenses (.8); review
and revise Motion to Approve Settlement (.4);
review Motion to Limit Notice (.1); review and
revise Certificate of Service (.1).

Review draft settlement agreement, related
transfer and defense materials, and emails with
opposing counsel regarding same.

Review open settlement, release issues and
related emails with opposing counsel.

Review adversary proceeding and main case
dockets and update litigation control sheet
accordingly.

Review email from Attorney Correa regarding
status of Stipulation.

Review open payment, settlement approval
issues.

Track receipt of settlement proceeds.
Telephone call with Attorney Correa regarding
comments, on Stipulation.

Emails with Attorney Correa regarding. proposed
release language.

Review and assess defendant’s proposed edits to
Settlement Agreement (.2); emails and telephone
call with Attorney Correa regarding same (.1).
Review email from Atty. Correa with new
revisions to Stipulation; cross-check new
revisions against prior version and identify
issues to address in new revisions.

Review and revise draft settlement stipulation
and review related release issues.

Memoranda with Trustee about settlement
agreement, including recommendation for
alternative language (.4); memoranda with
Trustee regarding 502(h) claim (.1).

Review additional settlement terms, release
issues and approval strategies.

Further update draft Settlement Agreément to
reflect mutual releases, including to create
comparison document for counsel’s review (.6);
emails with Atty. Correa regarding Settlement

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MIRICK, O’ CONNELL

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

Direct Air

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Invoice Number ******

Chapter 7 Trustee

Agreement negotiations and new draft (.3).
Continue review of open settlement issues,
related release requirements.

Review revisions to settlement agreement,
related approval issues.

Telephone call from Atty. Correa regarding
proposed edits to Stipulation (.1); prepare
final Stipulation based on final comments (.1);
finalize Stipulation and send to Atty. Correa
for signature (.2); two telephone calls with
Atty. Correa regarding procedures (.2); revise
Motion to Approve for consistency with
Settlement Agreement (.3).

Review revised settlement pleadings, related
release issues and strategies.

Follow up regarding executed settlement
agreement (.1); confer with Trustee regarding
final Stipulation and releases (.1); execute
final Stipulation (.1); email Atty. Correa
regarding as-filed Stipulation and confirmation
regarding release timing (.1); prepare and
finalize final approval package for e-filing
(.3).

Emails with Atty. Correa regarding status of
settlement.

Draft stipulation of dismissal and certificate
of service and review/revise same; review
stipulation of settlement as to timing for
filing the dismissal; confirm service list.
Review and track Court's order approving
Stipulation.

Follow up regarding stipulation of dismissal.
Update litigation control chart.

Email Atty. Correa with Order approving
Stipulation (.1) and track dismissal
information (.1).

Review Miami’s newly-filed 502(h) claim; emails
with Trustee regarding same.

Update preference chart as to current
status/deadlines.

Review docket notices regarding closure of
adversary proceeding; memoranda regarding same.

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

TASK: 0010 Adversary Proceeding

Attorney

Summary

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
274 kmdellec Kimberly M. De

TYPE 0010

Time Deta

08/31/12

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Hours Value Rate
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6.80 1,730.00 254.41
6.80 1,258.00 185.00

Telephone calls with Progressive Funding
Solutions regarding demand letter and follow up
with memorandum regarding same (.3.

Attention to returned mail for Progressive
Funding Solutions (.1).

On-line search regarding Progressive Funding
Solutions; attend to conflict check and review
claims register for possible proof of claim;
prepare adversary proceeding cover sheet;
review correspondence to/from Progressive
Funding and draft and review complaint (1.8).
Assist with development of PFS Complaint (.1).
Review and revise Progressive Funding Solutions
Complaint and Adversary Proceeding cover sheet.
Research Avondale entities and sale transaction
in order to add details to Complaint (.7);
revise and augment Complaint (.5), Adversary
Proceeding cover sheet (.1), and exhibits (.1);
further edit and finalize Complaint package for
Trustee’s review (.3); memorandum to Trustee
regarding same (.1).

Revise complaint and review underlying
contract, transfer materials.
Implement Trustee’s suggested edits into
Complaint (.1); finalize, execute, and track
Complaint package for filing (.1).

Finalize complaint/ cover sheet for. efiling and
coordinate same (.3); receipt/review of
summons; prepare certificate of service
regarding service of complaint/summons and

Hours Value
0.30 73.50
0.10 24.50
1.80 333.00
0.10 25.50
0.40 102.00
1.80 459.00
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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

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draft transmittal letter; review and revise
all; calendar ahead regarding answer deadline
and update control sheet (.7).

Review Summons and track defendant’s Answer
deadline.

Attention to service logistics (.1); review and
execute Certificate of Service regarding
Summons (.1).

Finalize transmittal letter to defendant
enclosing complaint and summons; coordinate
service of same and efiling of certificate of
service.

Attention to tracking green card through USPS
report results.

Review status of service and attend to
investigating same (.1); review Bankruptcy
Rules and annotations to confirm good service
upon PFS even absent receipt of "green card"
(.2); prepare memorandum confirming effective
service of process (.1).

Draft default pleadings; review and revise
same.

Attention to default pleadings.

Review and revise default package.

Finalize default package for Trustee
signatures.

Review, revise default request.

Finalize default pleadings for efiling and
service; track return of service.
Attention to default pleadings, execution, and
filing of same.

Review email regarding default pleadings and
return of service.

Receipt of notice of default from Bankruptcy
Court; review local rules to determine next
steps to obtain default judgments in general
and strategy regarding same; prepare
certificate of service regarding notice of
‘default.

Track Clerk’s Entry of Default.

Strategize regarding next steps to address
default and obtain judgment.

Coordinate efiling of certificate of service
regarding notice of default; update control

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‘Invoice Number ******

MIRICK, O' CONNELL

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

sheet and calendar ahead for receipt of hearing
notice.
11/18/13 goneil 0010 Review summary of next steps to address default 0.30 76.50
and determine next steps to address (.2);
review and execute Certificate of Service
package for default (.1).

12/04/13 goneil 0010 Memoranda regarding discussion with PFS CEO 0.10 25.50
about default.
12/05/13 goneil 0010 Strategize regarding Mr. Howard's position, 0.40 102.00

default status, and possible resolution in
context of potential for assistance with

Investigation.
12/06/13 goneil 0010 Confer with Trustee regarding default and 0.10 25.50
potential settlement negotiations.
12/11/13 goneil 0010 Strategize regarding response to PFS based on 0.10 25.50
W. Green interview findings,
12/23/13 goneil 0010 Review Judgement entered by Court (.1); review | 0.20 51.00

background materials to assess next steps
regarding Judgment (.1).

12/30/13 kmdellec 0010 Track entry of judgment in adversary 0.10 18.50
proceeding.

01/06/14 goneil 0010 Develop next steps to investigate collection on 0.10 25.50
Judgment .

01/07/14 goneil 0010 Review new docket entries regarding case 0.10 25.50

closure and disposition of adversary
proceeding; update chart to reflect.
01/07/14 goneil 0010 Strategize regarding next steps to pursue 0.30 76.50
, post-judgment demand and collection (.2);
confer with Trustee regarding same (.1).
01/31/14 goneil 0010 Review and revise letter to Mr. Howard/PFS 0.40 102.00
regarding Judgment and collection of same (,3);
research judgment interest rate in connection
with same (.1).

02/04/14 goneil 0010 — Further research post~judgment interest 0.10 25.50
calculation.
08/04/14 JHB 0010 Review open issues, next steps in recovery 0.20 79.00

action and strategies for resolution.
TYPE 0010 TOTAL 14.30 3,262.00
TASK: 0011 Adversary Proceeding

Attorney Summary Hours Value Rate

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15008

Joseph H. Baldiga,

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Invoice Number ******

Chapter 7 Trustee

14190 Direct Air (Southern Sky Air & Tours, LLC)

139 JHB Joseph H. Baldiga
290 goneil Gina B. O'Neil
281 jemurphy Jessica E. Mur
162 RBG Robert B. Gibbons
304 mrfisher Matthew R. Fis
274 kmdellec Kimberly M. De

325 kfoley Kate Foley

TYPE 0011

Time Detail

08/15/13

09/03/13

09/05/13
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71.00 18,219.00 256.61
29.00 7,595.00 261.90
0.70 269.50 385.00
0.10 23.00 230.00
6.50 1,222.50 188.08
2.50 550.00 220.00

126.90 34,590.50

Email Attorney Hales to follow-up on document
request for Quickflight (.2).

Review status of Quickflight subfile and
recommend Complaint to Trustee.

Attend to preparation of Complaint.

Attention to conflict search and on-line search
of Ohio Secretary of State web-site to
determine corporate status; draft and
review/revise adversary complaint and cover
sheet.

Review supporting documents regarding Quick
Flight, Inc. and revise complaint.

Attend to preparation of Complaint.

Finalize cover sheet, complaint and exhibits
for efiling/service.

Review backup provided by Verdolino & Lowey and
assess possible defenses and viability of
Complaint (.7), memorandum to chart regarding
backup and assessment of defenses (.1), review
and revise Complaint package, including
Adversary Proceeding coversheet, Complaint, and
exhibits (.8).

Complaint issues and strategies.

Draft transmittal letter to agent for defendant
enclosing summons and complaint; confirm
address of registered agent.

Update preference chart regarding
complaint/answer deadline; calendar regarding
answer deadline.

Review revised Complaint and finalize package
for filing.

Hours Value
0.20 51.00
0.10 25.50
0.10 25.50
1.50 277.50
0.30 55.50
0.10 25.50
0.30 55.50
1.60 408.00
0.20 78.00
0.40 74.00
0.20 37.00
0.20 51.00
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Invoice Number ******
15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

09/17/13 goneil 0011 Review Summons transmittal package (.1); track 0.30 76.50
and execute Summons (.1); edit Adversary
Proceeding cover sheet (.1).

10/01/13 kmdellec 0011 Attend receipt of proof of service and update 0.10 18.50
control sheet.

10/02/13 goneil 0011 Confirm defendant's receipt of service of 0.10 25.50
process and review matter generally.

10/15/13 goneil 0011 Follow up regarding Answer deadline and confirm 0.10 25.50
next steps to address possible default.

10/15/13 goneil oo11 Telephone call from Attorney Hales regarding 0.10 25.50
Answer deadline.

10/15/13 goneil 0011 Telephone call with Attorney Aframe 0.10 25.50

(Quickflight local counsel) regarding extension
of Answer deadline and track same.
10/16/13 kmdellec 0011 Review status of answer deadline and 0.10 18.50
information received as to possible appearance
by local counsel.

10/17/13 goneil 0011 Follow up regarding Answer deadline. 0.10 25.50

10/21/13 goneil 0011 Review status of response and answer. 0.10 25.50

10/23/13 goneil 0011 Review Defendant's Motion to Extend Answer 0.10 25.50
Deadline and Court’s Order approving same.

10/25/13 goneil 0011 Telephone call with Attorney Aframe regarding . 0.10 25.50
further extension of Answer deadline.

10/28/13 goneil ooil Review Answer and compare responses to 1.40 357.00

‘allegations in Complaint (.2); review Rule 26
litigation and conference requirements to
identify next steps (.3); review Court’s
pre-trial Order and track relevant deadlines
associated with same (.5); email defendant’s
counsel regarding defenses and scheduling 26(f)
Conference (.2); update chart with Pretrial
Memorandum deadlines (.1); review response from
Attorney Aframe (.1).

11/13/13 goneil 0011 Confer with Attorney Aframe about next steps 0.10 25.50
and defenses. :
11/20/13 goneil 0011 Email counsel to Quickflight regarding 26(f) 0.30 76.50

conference (.2); telephone call with Attorney
Aframe regarding same (.1).

11/20/13 goneil 0011 Prepare Rule 7026(a) (1) Initial Disclosures , 1.20 306.00
(1.1) and cover letter regarding same (.1).
11/21/13 goneil 0011 Review records index to identify records for 0.80 204.00

possible use in discovery, and review and
revise Initial Disclosures (.6); review and
revise transmittal letter regarding Initial
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Invoice Number ******

15008 Joseph H. Baldiga, Chapter 7 Trustee
14190 Direct Air (Southern Sky Air & Tours, LLC)

11/22/13 goneil
11/25/13 JHB

11/25/13 goneil

11/25/13 mrfisher
11/26/13 JHB

11/26/13 goneil

11/27/13 goneil

11/30/13 goneil

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12/03/13 goneil

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Disclosures (.1); additional edits to Initial
Disclosures (.1).

Telephone call from Attorney Aframe regarding 0.10
26(£) conference.

Review and revise disclosures, and review 0.30
issues and strategies regarding discovery.

Review Pretrial Order and assess Defendant’s 2.30

request for extension of 26(f) conference (.3);
prepare draft Report of 26(f) conference and
review Bankruptcy Rules related to same (1.0);
email Attorney Aframe regarding scheduling
26(£) conference (.3); confer with Trustee
regarding 26(f) conference and Initial
Disclosures (.1); telephone call with Attorney
Aframe to conduct initial conference (.2);
review and revise draft 26(f) Conference
Report, Certificate of Service, and service
list (.4).

Strategy call regarding 26(f) report. 0.10
Review open recovery issues and strategies to 0.20
resolve.

Edit draft 26(£) Report (.1); email Initial 0.40

Disclosures to Attorney Aframe (.1); finalize
draft 26(£) report and email to Attorney Aframe

(.2).

Two telephone calls with Attorney Aframe for 0.50
26(f£) Conference.
Consider Attorney Aframe’s edits to 26(f) 0.90

Report and make additional revisions to
incorporate same (.7); memorandum to Trustee
regarding 26(f£) Conference and Report (.2).

Review and revise draft 26(f£) report. 0.20
Develop discovery plan for Quickflight 0.50
adversary proceeding.

Consider Trustee’s suggestions regarding 26(f) 2.50

Report and discovery timing (.1); engage in

discovery and deadline planning in order to

augment 26(f) Report and to ascertain next

steps for discovery (1.0); review Court’s

initial Pre-Trial Order and re-evaluate format

of. 26(f) Report and discovery plan and review

Rule 26 to further capture necessary

information (1.4).

Gather materials necessary for preparation of 0.10

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MIRICK, O'CONNELL

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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discovery requests.

Telephone call with Attorney Aframe regarding
discovery planning.

Review revised 26(f) report, open discovery
issues and emails.

Revise 26(f) Conference Report (.3); finalize
Report for defendant's review (.1).

Finalize 26(f) Conference Report for
defendants’ review (.1); email same to Attorney
Aframe (.1); execute 26(f£) report and prepare
same for filing (.1).

Attend to filing 26(f£) Conference Report.
Telephone call with Attorney Aframe regarding
Initial Disclosures and future settlement
possibilities; confer with Trustee regarding
updates.

Review Defendant's Initial Disclosures.

Emails with Attorney Aframe regarding discovery
steps.

Telephone call with Attorney Aframe regarding
status of Defendant's response and invoicing
information.

Attend to litigation planning (.3); draft First
Request for Production of Documents (1.2).
Review next steps to address discovery.

Prepare Plaintiff's First Set of
Interrogatories.

Attention to discovery deadline issues and
related planning.

Review, revise discovery requests (admissions,
interrogatories and document production) and
devise related strategies.

Review, revise, and augment First Request for
Production of Documents (.6); review, revise,
and augment Plaintiff's Request for
Interrogatories (.3); prepare Plaintiff's
Request for Admissions (.5); confer. with
Trustee regarding discovery timing (.1);
finalize all three discovery documents for
Trustee’s review (.3); confer with Trustee
regarding discovery issues and prepare requests
to send to Defendant(.2); email Attorney Aframe
with discovery requests and summary regarding
same (.2).

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Joseph H. Baldiga,
(Southern Sky Air & Tours, LLC)

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Chapter 7 Trustee

Emails with Attorney Aframe about discovery
response timing... /

Telephone call with Attorney Aframe regarding
status of discovery response.

Consider supplementing initial disclosures with
additional backup documents.

Telephone call and email with Attorney Aframe
regarding payment charts.

Review and analyze spreadsheets showing
payments, including to conduct independent new
value analysis based on Direct Air records.
Analysis and strategies regarding defenses
raised and next steps to resolve.

Analysis and strategy regarding use of
favorable e-mail; strategy regarding
positioning case for settlement or moving for
summary judgment.

Emails with C. Aframe regarding settlement
talks.

Prepare notes for meeting with Trustee and call
with Attorney Aframe regarding Quickflight’s
ordinary course of business defense (.4);
confer with Trustee regarding Quickflight
spreadsheets and analysis (.2); telephone call
with Attorney Aframe regarding spreadsheets,
discovery, and defenses (.4); consider next
steps regarding discovery, summary judgment,
and proof/affidavits necessary for trial (.4).
Memoranda with Trustee regarding conference
with Attorney Aframe.

Further analysis, defense review and settlement
parameters.

Review next steps to address discovery issues
(.1); email and follow-up call with Attorney
Aframe regarding incriminating email from
company president (.4); additional attention to
discovery process (.1); emails with Trustee
regarding settlement strategy (.1).

Review open discovery issues, and analysis of
asserted defenses (.4); conference with
Attorney Aframe regarding same and possible
resolution (.3).

Confer with Trustee regarding next steps to
address discovery response (.1); draft email to

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Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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Attorney Aframe regarding discovery deadlines
(.2); memorandum to Trustee regarding issues
related to same (.4).

Further defense analysis, discovery issues.
Implement Trustee’s suggested edits and email
Attorney Aframe regarding discovery status
(.2); review response (.1).

Review proposed edits to discovery documents.
Review open discovery, resolution issues and
devise response strategies regarding extension
motion.

Review Defendant's Motion to Extend Discovery
Deadlines, check Pretrial Order to assess
impact of extension on other deadlines, and
consider options for a response or separate
motion to amend Pretrial Order based on same
(.4); memorandum to Trustee outlining options
(.2).

Review Court’s order extending discovery
deadline (.1); prepare Motion to Extend
Deadlines Set Forth in Pretrial Order (.7);
prepare proposed Order (.1).

Emails with Attorney Aframe regarding Mary
Baldwin/witness contact information and
investigate alternate contact information in
responses to inquiry.

Strategy regarding Defendant’s asserted
defenses to a preference claim and proof of the
same; strategy regarding discovery.
Communications to M. Baldwin and communications
with Attorney Aframe regarding discovery
regarding parties’ course of dealing.
Strategize regarding Attorney Aframe’s request
for Mary Baldwin interview and approaches to
address incriminating email (.3); review email
to M. Baldwin regarding possible interview
(.1); strategize regarding next steps to
investigate course of dealings between the
parties (.1).

Phone calls from QuickFlight’s counsel
regarding preference defense analysis delay and
impact on adversary proceeding deadlines.
Email Attorney Aframe with proposed extended
deadlines for dispositive motion and pretrial

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Invoice Number ******

Joseph H. Baldiga, Chapter 7 Trustee
Direct Air (Southern Sky Air & Tours, LLC)

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memorandum (.2); revise and augment Motion to
Extend Deadlines and proposed order (.5).
Review and assess defendant’s Response to
Plaintiff’s First Request for Admissions.
Consider disclosure and conference report
issues due to pending extension request (.1);
review Court’s Order tracking new extended
deadlines (.1).

Follow up regarding status of discovery and
extension of related deadlines (.1); review and
edit Motion to Extend Deadlines and proposed

Order (.2), finalize same for defendant’s

review (.2); attend to formatting and filing
logistics (.2); emails with Atty. Aframe
regarding draft Motion and dispositive motion
timing (.2).

Review open discovery issues, revised schedule
and stipulation.

Telephone call with Atty. Aframe regarding
proposed discovery deadlines (.1); edit Motion
to Extend Discovery Deadlines consistent with
call (.2); revise and finalize same for Atty.
Aframe’s review (.1); email Atty. Aframe with
updated draft Motion to Extend Deadlines (.1);
finalize Motion and Certificate of Service and
attend to filing same (.2).

Review Court’s Order on Motion to Extend
Deadlines and track extended deadlines.
Implement suggested edits into 26(f) Report,
Trustee’s Initial Disclosures, and cover
letter.

Review open discovery issues, parameters for
settlement.

Review email from Atty. Aframe regarding
discovery response and expert witness
disclosures (.1); review new value exposure and
analysis to consider settlement terms (.3);
emails with Trustee regarding same (.1).
Review messages from Atty. Aframe attaching
discovery responses.

Emails with Atty. Aframe regarding status of
discovery (.1); review Answers to
Interrogatories (.1).

Telephone call from Atty. Aframe regarding

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Joseph H. Baldiga,

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Chapter 7 Trustee

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discovery.

Review defendant’s discovery responses (.4);
calculate new value exposure based on responses
and invoices provided (.3), and develop
potential settlement recommendation for Trustee
(.1).

Telephone call to Atty. Aframe regarding
discovery.

Review open discovery issues, emails from
Attorney Aframe.

Review emails from Atty. Aframe regarding
additional discovery.

Telephone call with Atty. Aframe regarding
expert witness disclosures, discovery, and
possible settlement.

Update chart to reflect amended pre-trial order
dates.

Strategy regarding fact witnesses, expert
witnesses and case deadlines.

Strategize regarding experts and other
witnesses for trial (.3); follow up to confirm
no insolvency issues (.1).

Review allegations in preference complaints
regarding antecedent debt and evaluate amending
complaints. .
Telephone call with Atty. Aframe regarding
expert witness disclosures (.1); review
Pre-Trial Order to confirm dates and deadlines
consistent with same (.2); consider whether to
amend Complaint regarding allegations of
antecedent debt (.1).

Plan for preparation of Joint Pretrial
Memorandum.

Commence drafting Joint Pretrial Memorandum.
Prepare Joint Pretrial Memorandum, including to
review discovery materials and assess trial
strategy in connection with same.

Review expert report, discovery issues,
settlement parameters and strategies.

Review defendant's expert discovery; review
need to Trustee to obtain expert; analyze
opportunity for settlement or trial.

Review message from Atty. Aframe with Expert
Witness Disclosures (.2); memorandum to Trustee

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